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                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF UTAH


 SECURITIES AND EXCHANGE
 COMMISSION,                                      TENTH INTERIM FEE APPLICATION
                                                   FOR RECEIVER AND RECEIVER’S
                       Plaintiff.                  PROFESSIONALS FOR SERVICES
                                                    RENDERED FROM JULY 1, 2020
        v.                                          THROUGH SEPTEMBER 30, 2020
 TRAFFIC MONSOON, LLC, a Utah Limited                         2:16-cv-00832-JNP
 Liability Company, and CHARLES DAVID
 SCOVILLE, an individual,                                 The Honorable Jill N. Parrish

                       Defendants.




       Peggy Hunt, the Court-appointed Receiver (the “Receiver”) of Traffic Monsoon, LLC

(“Traffic Monsoon”) and the assets of Charles David Scoville (“Scoville” and, together with

Traffic Monsoon, the “Defendants”) that were obtained directly or indirectly from Traffic

Monsoon, hereby submits this interim “Fee Application,” seeking approval by the Court of fees

and expenses incurred by the Receiver; the Receiver’s counsel, Dorsey & Whitney LLP

(“Dorsey”) and Greenberg Traurig, LLP (“Greenberg”); and the Receiver’s accountants,
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Berkeley Research Group, LLC (“BRG”), for the period of July 1, 2020 through September 30,

2020 (the “Application Period”) and authorization to pay all allowed fees and expenses from

funds of the Receivership Estate. The Receiver respectfully submits that the Application should

be approved. In support hereof, the Receiver states as follows.

I.         CASE BACKGROUND

           1.        On July 26, 2016, the above-captioned case was commenced by the United States

Securities and Exchange Commission (the “SEC”) against the Defendants, alleging violations of

federal securities laws. On that same day, the Court entered a Temporary Restraining Order and

Order Freezing Assets, which was amended, in relevant part, on July 27, 2016 and on November

4, 2016. 1

                                             Relevant Orders

           2.        On July 27, 2016, the Court entered an Order Appointing Receiver (the

“Receivership Order”), 2 thereby appointing the Receiver and stating in paragraphs 19 and 20 as

follows:

           19.     The Receiver is authorized to employ professionals to assist her in carrying
           out the duties and responsibilities described in this Order. The Receiver shall not
           engage any professionals without first obtaining an Order of the Court authorizing
           such engagement. The Receiver is authorized to retain Dorsey & Whitney LLP, a
           firm in which the Receiver is a partner, as the Receiver’s counsel in this matter.

           20.     The Receiver and Retained Professionals are entitled to reasonable
           compensation and expense reimbursement from the receivership estate as described
           in the “Billing Instructions for Receivers in Civil Actions commenced by the U.S.
           Securities and Exchange Commission (the “Billing Instructions”) agreed to by the
           Receiver. Such compensation shall require the prior approval of the Court.



1
    Docket Nos. 8, 14 & 56.
2
    Docket No. 11.
                                                     2
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           3.        The Court thereafter entered an Order Granting Receiver’s Ex Parte Motion

Seeking Authorization to Employ Accountants, 3 authorizing the Receiver’s employment of BRG

effective as of September 2, 2016.

           4.        On March 28, 2017, the Court entered, among other things, a Preliminary

Injunction 4 and an Amended Order Appointing Receiver (the “Amended Receivership Order”). 5

The Amended Receivership Order restates, without making substantive changes to, paragraphs

19 and 20 of the Receivership Order quoted in ¶ 2 above. 6

           5.        On June 13, 2017, the Court entered an Order Establishing Administrative

Expense Payment Procedures (the “Fee Procedures Order”), 7 setting forth procedures for the

request and payment of professional fees and expenses in this case. This Fee Application is an

“Interim Fee Application” within the meaning of ¶ 10 of the Fee Procedures Order and is

intended to meet the criteria of ¶¶ 11 through 15 of that Order.

           6.        On February 16, 2018, the Court entered a Second Amended Order Appointing

Receiver (the “Second Amended Order”), which did not affect billing and fee allowance

procedures as set forth in the above-mentioned Orders, except that paragraph 5 of the Order

requires that the Receiver “obtain prior approval from this court before using Receivership

Assets to present arguments on the merits of the [SEC’s] claims against Traffic Monsoon and



3
    Docket No. 25.
4
    Docket No. 79.
5
    Docket No. 81.
6
    Id. (Amended Receivership Order ¶¶ 17-18).
7
    Docket No. 101.

                                                     3
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Scoville in the above captioned action . . . or in any appeals from orders or judgments of this

court.” 8

           7.         The Court entered an Order Conditionally Granting Receiver’s Ex Parte Motion

Seeking Authorization to (1) Employ Greenberg Traurig, LLP, as Receiver’s Counsel and (2) to

Retain Dorsey & Whitney LLP as Special Counsel on a Limited Matter, 9 authorizing the

Receiver’s employment of Greenberg effective as of May 7, 2020 (the “2020 Employment

Order”).

           8.         As set forth in Greenberg’s invoices attached hereto, Greenberg has applied

billing rates consistent with the 2020 Employment Order. Additionally, during the Application

Period, Dorsey continued to provide limited services to the Receivership Estate. The Receiver

anticipates that Dorsey’s services are completed, and it will no longer be engaged in this case

going forward.

                                       Notices of Requests for Payment

           9.         During the Application Period, the Receiver filed three Notices of Request for

Payment pursuant ¶¶ 1-5 of the Fee Procedures Order, seeking payment of fees and

reimbursement of costs for the months of July, August, and September 2020 (the “Monthly

Requests”). 10




8
    Docket No. 120.
9
    Docket No. 258.
10
     Docket Nos. 272, 273, & 278

                                                       4
Case 2:16-cv-00832-JNP Document 280 Filed 12/10/20 PageID.46653 Page 5 of 117




           10.     No objections to the Monthly Requests were filed and, accordingly, pursuant to

¶ 8 of the Fee Procedures Order, the Receiver paid 80% of the fees requested therein and

reimbursed all out-of-pocket expenses.

           11.     A summary of payments made to the Receiver and each of the Professionals

pursuant to the Monthly Requests is included in Exhibit 1.

                                         Relevant Status Report

           12.     On December 9, 2020, the Receiver filed her Tenth Status Report (the “Status

Report”). 11 The Status Report outlines the work done by the Receiver and her professionals

during the current Application Period and is incorporated herein by reference.

II.        FEES AND EXPENSES REQUESTED ARE ACTUAL, NECESSARY AND
           REASONABLE FOR THE SERVICES RENDERED

           13.     During the Application Period, significant professional services were required to

perform the work outlined in the Status Report incorporated herein.

           14.     The Receiver and her professionals have provided actual and necessary services

related to the matters summarized in the Status Report and detailed in the Exhibits attached

hereto for the benefit of the Receivership Estate. Out-of-pocket expenses were also incurred by

the professionals in rendering services to the Receivership Estate.

           15.     Greenberg, Dorsey, and BRG have submitted their invoices to the Receiver. The

Receiver reviewed the invoices and, when necessary, requested adjustments to the fees or

expenses requested. The Receiver also reviewed her time records and adjustments were made




11
     Docket No. 279.

                                                    5
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when necessary. The invoices included in the Monthly Requests are the invoices that have been

approved by the Receiver and the Receiver knows of no dispute related to the requests made.

       16.     The Fee Application complies with the SEC’s Billing Instructions. In accordance

with ¶ 12 of the Fee Procedures Order and the SEC Billing Instructions, the Receiver submitted

this Fee Application to the SEC prior to filing it with the Court, and the SEC has informed the

Receiver that it has no objection to the payment of the fees or reimbursement of the expenses

outlined herein.

       17.     With any adjustments made, the Receiver believes that the fees and expenses are

reasonable, especially in light of the work that has been done during the Application Period as

outlined in the Status Report. She also believes that the services rendered and the expenses

advanced have been beneficial to the Receivership Estate.

III.   SUMMARY OF EXHIBITS

       18.     Professional services have been recorded contemporaneously with services being

rendered and these services, as well as the expenses incurred, are detailed in the attached

Exhibits described below.

       19.     The Receiver and her professionals have billed their time according to topical

tasks noted in their respective invoices, and time is billed chronologically based on task.




                                                 6
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           20.     The following Exhibits are attached hereto in support of this Fee Application:

                                                   Exhibit 112

                   Exhibit 1-A               Receiver Summary of Fees and Expenses for the
                                             Application Period

                   Exhibit 1-B               Dorsey Summary of Fees and Expenses for the
                                             Application Period

                   Exhibit 1-C               Greenberg Summary of Fees and Expenses for the
                                             Application Period

                   Exhibit 1-D               BRG Summary of Fees and Expenses for the Application
                                             Period

                                                    Exhibit 2
                             Monthly Request for July 1 through July 31, 2020 13

                                                    Exhibit 3

                          Monthly Request for August 1 through August 31, 2020 14

                                                    Exhibit 4

                       Monthly Request for September 1 through September 30, 2020 15

IV.        SUMMARY OF AMOUNTS REQUESTED

           21.     The Receiver is requesting allowance of all fees and out-of-pocket expenses

discussed below. Although allowance is sought of all fees and expenses, the Receiver will pay

only those sums outstanding as set forth below because a portion of the fees and expenses have


12
  Each of the Summaries in Exhibit 1 include, among other things, a total of the fees and costs requested, with a
cross reference to the Exhibits referenced below containing the professional’s contemporaneous time records for
such fees and costs.
13
     Docket No. 272.
14
     Docket No. 273.
15
     Docket No. 278.

                                                         7
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already been paid as requested in the unopposed Monthly Requests and as authorized by the Fee

Procedures Order.

           22.       The Receivership Estate has sufficient funds to pay all amounts requested. 16

                                                    Receiver

           23.       From July 1, 2020 through the end of the Application Period on September 30,

2020, the Receiver has worked a total of 50.5 hours providing receivership services to the

Receivership Estate for which fees in the total amount of $16,281.90 have been incurred after

reductions. 17

           24.       Of that amount, $13,025.52 has already been paid pursuant to the unopposed

Monthly Requests and, therefore, a total of $3,256.38 remains outstanding. 18

           25.       The amount requested includes reductions made by the Receiver in an exercise of

her billing judgment and/or at the request of SEC. The Receiver has reduced her fees in the total

amount of $1,670.85 for the Application Period. 19

                                                     Dorsey

           26.       From July 1, 2020 through the July 31, 2020, Dorsey worked a total of 1.0 hours

and provided legal services to the Receivership Estate for which fees in the total amount of

$570.50 and out-of-pocket expenses in the total amount of $1,343.06 have been incurred. 20



16
     See Docket No. 279 (Status Report & Exh. 1 (SFAR)).
17
     See Exhs. 1-A, 2-A, 3-A, and 4-A.
18
     See Exh. 1-A.
19
     See Exh. 1-A.
20
     See Exhs. 1-B and 2-B.

                                                           8
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           27.       Of that amount, $1,799.46 has already been paid pursuant to the unopposed

Monthly Requests and, therefore, a total of $114.10 remains outstanding. 21

                                                Greenberg

           28.       From July 1, 2020 through the end of the Application Period on September 30,

2020, Greenberg worked a total of 148.2 hours and provided legal services to the Receivership

Estate for which fees in the total amount of $99,656.00 and out-of-pocket expenses in the total

amount of $166.30 have been incurred after reductions. 22

           29.       Of that amount, $79,891.10 has already been paid pursuant to the unopposed

Monthly Requests and, therefore, a total of $19,931.20 remains outstanding. 23

           30.       The amount requested includes reductions made by Greenberg in an exercise of

its billing judgment and/or at the request of the Receiver or the SEC. Greenberg has reduced its

fees in the total amount of $9,300.00 for the Application Period. 24 Not reflected in these

reductions is the fact that the rates applied are far below the relevant attorneys’ actual Salt Lake

City, Utah market rates and do not account for their years of experience or their specialized

knowledge of matters related to this case.

                                                   BRG

           31.       From July 1, 2020 through the end of the Application Period on September 30,

2020, BRG worked a total of 100.8 hours providing forensic and general accounting services to


21
     See Exh. 1-B.
22
     See Exhs. 1-C, 2-C, 3-B, and 4-B.
23
     See Exh. 1-C.
24
     See Exh. 1-C.

                                                     9
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 the Receivership Estate for which fees in the total amount of $28,273.50 and out-of-pocket

 expenses in the total amount of $232.69 have been incurred after reductions. 25

            32.       Of that amount, $22,851.49 has already been paid pursuant to the unopposed

 Monthly Requests and, therefore, a total of $5,654.70 remains outstanding. 26

            33.       The amount requested includes reductions made by BRG in an exercise of its

 billing judgment and/or at the request of the Receiver or the SEC. BRG has reduced its fees in

 the total amount of $2,052.00 for the Application Period. 27

 V.         PRIOR APPLICATIONS AND INTERIM NATURE OF REQUEST

            34.       This is the tenth Fee Application of the Receiver and her professionals.

            35.       The Court has previously entered Orders authorizing the Receiver’s Interim

 Applications for the periods of July 27, 2016 through June 30, 2020. 28

            36.       The Receiver and her professionals understand that authorization and payment of

 fees and expenses is interim in nature. All fees and expenses allowed on an interim basis will be

 subject to final review at the close of the case and the discharge of the Receiver when the

 Receiver files a final accounting and fee application.

 VI.        REQUEST FOR COURT APPROVAL

            37.       For the reasons set forth above and as supported by the Exhibits attached hereto,

 the Receiver respectfully submits that the fees and expenses requested herein are for actual




 25
      See Exhs. 1-D, 2-D, 3-C, and 4-C.
 26
      See Exh. 1-D.
 27
      See Exh. 1-D.
 28
      Docket Nos. 100, 107, 119, 163, 164, 209, 246, 276.
                                                            10
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 services that were necessary for and beneficial to the administration of the Receivership Estate.

 The Receiver has made every attempt to contain the administrative expenses of this Receivership

 Estate, and she submits that given the work that has been performed as outlined in her Status

 Report, the fees and expenses of all professionals that have been incurred are reasonable.

        38.     Thus, the Receiver respectfully submits this Fee Application and requests that the

 Court enter an Order allowing the fees and expenses requested herein. She also requests that the

 Court authorize her to pay allowed fees and expenses from funds of the Receivership Estate to

 the extent those fees and expenses have not been paid to date in accordance with the Fee

 Procedures Order.

        Dated this 10th day of December, 2020.



                                 [SIGNATURE PAGE FOLLOWS]




                                                 11
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                                           RECEIVER


                                              /s/ Peggy Hunt
                                           Peggy Hunt
                                           Receiver, Peggy Hunt


                                           DORSEY & WHITNEY LLP


                                              /s/ Steven Marsden
                                           Milo Steven Marsden
                                           Counsel for Receiver


                                           GREENBERG TRAURIG, LLP


                                              /s/ Sarah Goldberg
                                           Sarah Goldberg
                                           Counsel for Receiver


                                           BERKELEY RESEARCH GROUP


                                           /s/ Marvin Tenenbaum
                                           Marvin Tenenbaum
                                           Senior Vice President & Special Advisor to
                                           the Chairman




                                      12
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 10th day of December, 2020, I caused the foregoing TENTH

 INTERIM FEE APPLICATION FOR RECEIVER AND RECEIVER’S

 PROFESSIONALS FOR SERVICES RENDERED FROM JULY 1, 2020 THROUGH

 SEPTEMBER 30, 2020 to be electronically filed with the Clerk of the Court using the CM/ECF

 system which will send notification of the filing to all counsel of record in this case.



                                                        /s/ Candy Long
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               EXHIBIT 1-A
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TRAFFIC MONSOON
Summary of Peggy Hunt - Receiver Fees & Expenses
July 1, 2020 - September 30, 2020


                                                   Voluntary                                         Amount
   Date     Invoice No.    Hours        Fees       Reduction Adjusted Fees   Expenses   Amount Paid Outstanding Exhibit
  Jul-20      5483224       24.1    $   8,567.55 $     (675.45) $ 7,892.10 $        -   $ 6,313.68 $ 1,578.42     2-A
  Aug-20      5483243       11.7        4,159.35       (142.20)   4,017.15          -      3,213.72      803.43   3-A
  Sep-20      5512589       14.7        5,225.85       (853.20)   4,372.65          -      3,498.12      874.53   4-A
Total                       50.5    $ 17,952.75 $   (1,670.85) $ 16,281.90 $       -    $ 13,025.52 $   3,256.38
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               EXHIBIT 1-B
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TRAFFIC MONSOON
Summary of Dorsey & Whitney Fees & Expenses
July 1, 2020 - September 30, 2020


                                                  Voluntary                                        Amount
    Date    Invoice No.   Hours        Fees       Reduction   Adjusted Fees Expenses  Amount Paid Outstanding Exhibit
   Jul-20   201041913      1.0     $     570.50 $         -   $     570.50 $ 1,343.06 $ 1,799.46 $     114.10   2-B
            201042016
Total                      1.0     $    570.50 $         -    $    570.50 $   1,343.06 $   1,799.46 $   114.10
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               EXHIBIT 1-C
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TRAFFIC MONSOON
Summary of Greenberg Traurig Fees & Expenses
July 1, 2020 - September 30, 2020


                                                 Voluntary                                              Amount
   Date     Invoice No.    Hours       Fees      Reduction Adjusted Fees   Expenses     Amount Paid   Outstanding Exhibit
  Jul-20      5483244       19.4    $ 61,534.50 $ (5,010.00) $ 56,524.50 $      21.27   $ 45,240.87   $ 11,304.90   2-C
  Aug-20      5435104       99.3      36,611.50    (2,277.00)  34,334.50          -       27,467.60      6,866.90   3-B
  Sep-20      5515788       29.5      10,810.00    (2,013.00)   8,797.00       145.03      7,182.63      1,759.40   4-B
Total                      148.2   $ 108,956.00 $   (9,300.00) $ 99,656.00 $   166.30 $ 79,891.10 $ 19,931.20
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               EXHIBIT 1-D
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TRAFFIC MONSOON
Summary of BRG Fees & Expenses
July 1, 2020 - September 30, 2020


                                                    Voluntary                                              Amount
   Date      Invoice No.    Hours      Fees         Reduction Adjusted Fees    Expenses     Amount Paid   Outstanding Exhibit
  Jul-20       102435        41.3   $ 12,618.00   $     (313.50) $ 12,304.50 $     132.19   $ 9,975.79    $ 2,460.90   2-D
  Aug-20       102436        46.8     14,061.00         (142.50)   13,918.50        50.50     11,185.30      2,783.70   3-C
  Sep-20       104007        12.7      3,646.50       (1,596.00)    2,050.50        50.00      1,690.40        410.10   4-C
Total                       100.8   $ 30,325.50 $    (2,052.00) $ 28,273.50 $      232.69 $ 22,851.49 $      5,654.70
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                   EXHIBIT 2
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 wiestj@gtlaw.com

 Attorneys for Court-Appointed Receiver Peggy Hunt


                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF UTAH


     SECURITIES AND EXCHANGE                       NOTICE OF REQUEST FOR PAYMENT
     COMMISSION,                                     BY RECEIVER AND RECEIVER’S
                                                           PROFESSIONALS
                          Plaintiff,
                                                           (JULY 1, 2020, THROUGH
     vs.                                                        JULY 31, 2020)

     TRAFFIC MONSOON, LLC, a Utah limited                       2:16-cv-00832-JNP
     liability company, and CHARLES DAVID
     SCOVILLE, an individual,                              The Honorable Jill N. Parrish

                          Defendants.


           Pursuant to the Order Establishing Administrative Expense Payment Procedures entered

 by the Court on June 13, 2017, 1 Peggy Hunt, the Court-appointed receiver in the above-

 captioned case (the “Receiver”), hereby submits the following Notice of Request for Payment by

 Receiver and Receiver’s Professionals related to fees and expenses incurred during the period of

 July 1, 2020, through July 31, 2020 (the “Notice”). The fees and expenses detailed in this Notice



 1
     Docket No. 101.
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 have been reviewed and approved, subject to Court approval, by the Receiver. This Notice was

 served on the Securities and Exchange Commission on October 6, 2020, and the Commission has

 informed the Receiver it does not oppose this request.

             Name of Applicant                                         Receiver

             Total Hours of Service                                             24.10

             Total Fees for Time Period                            $        7,892.10 2

             Total Expenses for Time Period                        $              0.00

             Total                                                 $         7,892.10

             Total Interim Payment Requested:                      $         6,313.68
             (80% of Fees and 100% of Expenses)

             Remaining Balance:                                    $         1,578.42

             Time and Services Detail:                                 Exhibit A


             Name of Applicant                                         Dorsey & Whitney LLP

             Total Hours of Service                                               1.00

             Total Fees for Time Period                            $           570.50

             Total Expenses for Time Period                        $        1,343.06 3

             Total                                                 $         1,913.56

             Total Interim Payment Requested:                      $         1,799.46
             (80% of Fees and 100% of Expenses)

             Remaining Balance:                                    $           114.10


 2
  Incurred fees totaling $8,567.55, less a voluntary reduction of fees in the amount of $675.45.
 3
  One of Dorsey’s expenses in July 2020 was for £1,000 GBP. Based on the Receiver’s review of the rates, on July
 31, 2020, the conversion rate was on average 1 GBP = 1.312 USD. Accordingly, the Receiver is seeking authority to
 make a payment in the amount of $1,312.00 for this expense. The other expense was for a filing fee in a United
 Kingdom court for $31.06. Dorsey has completed services, and this should be its last invoice.


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                Time and Services Detail:                                    Exhibit B


                Name of Applicant                                            Greenberg Traurig, LLP

                Total Hours of Service                                              129.90

                Total Fees for Time Period                               $     56,524.50 4

                Total Expenses for Time Period                           $           21.27

                Total                                                    $      56,545.77

                Total Interim Payment Requested:                         $      45,240.87
                (80% of Fees and 100% of Expenses)

                Remaining Balance:                                       $      11,304.90

                Time and Services Detail:                                    Exhibit C


                Name of Applicant                                            Berkeley Research Group

                Total Hours of Service                                               41.30

                Total Fees for Time Period                               $     12,304.50 5

                Total Expenses for Time Period                           $          132.19

                Total                                                    $      12,436.69

                Total Interim Payment Requested:                         $        9,975.79
                (80% of Fees and 100% of Expenses)

                Remaining Balance:                                       $        2,460.90

                Time and Services Detail:                                    Exhibit D



                                              [Signature Page Follows]


 4
     Incurred fees totaling $61,534.50, less a voluntary reduction of fees in the amount of $5,010.00.
 5
     Incurred fees totaling $12,618.00, less a voluntary reduction of fees in the amount of $313.50.


                                                             3
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  DATED October 12, 2020.
                                            RECEIVER


                                              /s/ Peggy Hunt
                                            Peggy Hunt

                                            DORSEY & WHITNEY LLP


                                              /s/ Steven Marsden
                                            ____________________________________
                                            Milo Steven Marsden
                                            Counsel for Receiver

                                            GREENBERG TRAURIG, LLP

                                               /s/ Sarah Goldberg
                                            Sarah Goldberg
                                            Counsel for Receiver


                                            BERKELEY RESEARCH GROUP

                                               /s/ Marvin Tenenbaum
                                            Marvin Tenenbaum
                                            Senior Vice President & Special Advisor to
                                            the Chairman
                                            Accountants for Receiver




                                        4
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  272 Filed
                                       Filed12/10/20
                                             10/12/20 PageID.46675
                                                       PageID.46514 Page
                                                                     Page27
                                                                          5 of 39
                                                                               117




                                 CERTIFICATE OF SERVICE

          I hereby certify that on October 12, 2020, I caused the foregoing to be electronically
 filed with the Clerk of the Court using the CM/ECF system, which will send notification of
 the filing to all counsel of record in this case.

                                                       /s/ Carson Heninger

        I further certify that on October 12, 2020, I caused the foregoing to be served as follows:

 Via Email:

        The SEC
        Daniel J. Wadley
        Amy J. Oliver
        Cheryl M. Mori
        waldleyd@sec.gov
        olivera@sec.gov
        moric@sec.gov

        BRG
        Matt K. Babcock
        Jeff Shaw
        Ray Strong
        mbabcock@thinkbrg.com
        JShaw@thinkbrg.com
        rstrong@thinkbrg.com

 Via U.S. Mail, First Class, postage pre-paid:

        Traffic Monsoon
        c/o Charles Scoville
        JUAB COUNTY JAIL
        PO BOX 133
        NEPHI, UT 84648

        Charles David Scoville
        JUAB COUNTY JAIL
        PO BOX 133
        NEPHI, UT 84648


                                                       /s/ Candy Long



                                                  5
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  272 Filed
                                       Filed12/10/20
                                             10/12/20 PageID.46676
                                                       PageID.46515 Page
                                                                     Page28
                                                                          6 of 39
                                                                               117




                   EXHIBIT A
                     Case
                      Case2:16-cv-00832-JNP
                           2:16-cv-00832-JNP Document
                                              Document280
                                                       272 Filed
                                                            Filed12/10/20
                                                                  10/12/20 PageID.46677
                                                                            PageID.46516 Page
                                                                                          Page29
                                                                                               7 of 39
                                                                                                    117


Peggy Hunt‐ Receiver for Traffic Monsoon/Receiver Services
Services Rendered July 1, 2020 to July 30, 2020

                         Task Code                                 Task Description   Hours      Fees       Write Off  Requested Fees
TMLS‐TMLS001                                                 Administration             6.20   $ 2,204.10              $     2,204.10
TMLS‐TMLS002                                                 Asset Recovery             14.4     5,119.20         ‐    $     5,119.20
TMLS‐TMLS003                                                 Claims Administration       1.6       568.80         ‐    $       568.80
TMLS‐TMLS004                                                 Fee Issues                  1.9   $   675.45     (675.45) $          ‐
TMLS‐TMLS005                                                 Plan of Distribution        0.0   $      ‐                $          ‐
TMLS‐TMLS006                                                 International               0.0                           $          ‐
                                                             Total Fees                24.10   $ 8,567.55 $   (675.45) $     7,892.10
TMLS‐TMLS007                                                 Out‐of‐Pocket Expenses                   ‐                $          ‐
                                                             Invoice Total                                             $     7,892.10
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  272 Filed
                                       Filed12/10/20
                                             10/12/20 PageID.46678
                                                       PageID.46517 Page
                                                                     Page30
                                                                          8 of 39
                                                                               117




                                                               Invoice No.: 5483224
                                                               File No.   : 194098.010100
                                                               Bill Date : August 4, 2020


 Peggy Hunt
 222 S. Main Street, 5th Floor
 Salt Lake City, UT 84101




                                         INVOICE




 Re: Receiver for Traffic Monsoon / Receiver Services

 Legal Services through July 31, 2020:
                                                                      $         8,567.55
                                         Less Courtesy Discount:      $          (675.45)
                                                     Total Fees:      $         7,892.10


                                            Current Invoice:         $          7,892.10




 PH:SG
 Tax ID:
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  272 Filed
                                       Filed12/10/20
                                             10/12/20 PageID.46679
                                                       PageID.46518 Page
                                                                     Page31
                                                                          9 of 39
                                                                               117
 Invoice No.:      5483224                                                                        Page 1
 Matter No.:       194098.010100


 Description of Professional Services Rendered:



 TASK CODE:             TMLS001    ADMINISTRATION



 DATE           TIMEKEEPER            DESCRIPTION                                   HOURS       AMOUNT

 07/02/20       Peggy Hunt            Investor communications; correspondence          0.40      142.20
                                      with M. Blower re status of investigation
                                      on Aslam; correspondence with S.
                                      Goldberg and J. Wiest re tasks
 07/06/20       Peggy Hunt            Investor communications, and attend to           0.50      177.75
                                      administrative tasks
 07/07/20       Peggy Hunt            Call with US Attorney re case                    0.50      177.75
 07/08/20       Peggy Hunt            Correspondence with R. Cheetham and J.           0.30      106.65
                                      Wiest re tasks
 07/09/20       Peggy Hunt            Review tax returns, correspondence with          0.30      106.65
                                      V. Calder re same and execute same
 07/10/20       Peggy Hunt            Attend to numerous case administration           1.00      355.50
                                      issues
 07/13/20       Peggy Hunt            Attend to administrative issues on FTI and       0.10       35.55
                                      Cost analysis issues
 07/14/20       Peggy Hunt            Numerous correspondence with FTI re              1.30      462.15
                                      invoices and conferences and
                                      correspondence with bank (.4); meeting
                                      with J. Shaw re taxes and numerous
                                      accounting issues and follow up (.4);
                                      meeting with S. Goldberg and J. Wiest re
                                      tasks (.2); conference with A. Oliver and
                                      follow up correspondence (.5)
 07/16/20       Peggy Hunt            Team status meeting re updates and tasks         0.80      284.40
                                      (.8)
 07/17/20       Peggy Hunt            Investor communications and                      0.10       35.55
                                      correspondence re tasks
 07/22/20       Peggy Hunt            Attend to administrative issues, including       0.30      106.65
                                      bank interest rates
 07/27/20       Peggy Hunt            Attend to investor communication issues          0.20       71.10
                                      and directions on several tasks
 07/28/20       Peggy Hunt            Correspondence with I. Bean re UK                0.30      106.65
                                      representation issues; investor
                                      communications; attend to banking issues
 07/30/20       Peggy Hunt            Correspondence with S. Oufnac re                 0.10       35.55
                                      coordination E. Ganz

                                                                  Total Hours:         6.20

                                                                             Total Amount:    $ 2,204.10
                                                                                Total Fees:     2,204.10
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
                                272 Filed
                                    Filed12/10/20
                                          10/12/20 PageID.46680
                                                   PageID.46519 Page
                                                                Page32
                                                                     10of
                                                                       of117
                                                                          39
 Invoice No.:      5483224                                                                             Page 2
 Matter No.:       194098.010100

 Description of Professional Services Rendered


 TASK CODE:             TMLS002      ASSET RECOVERY



 DATE           TIMEKEEPER               DESCRIPTION                                     HOURS       AMOUNT

 07/02/20       Peggy Hunt               Correspondence with UK associates re               0.10       35.55
                                         tasks (.1)
 07/08/20       Peggy Hunt               Call with J. Wiest re UK recovery issues           0.50      177.75
                                         and follow up on same (.5)
 07/13/20       Peggy Hunt               Conference with UK partners and J. Wiest           1.50      533.25
                                         and follow up call with J. Wiest re tasks
 07/15/20       Peggy Hunt               Review correspondence on Aslam                     0.40      142.20
                                         bankruptcy matters; analysis of same; and
                                         correspondence with J. Wiest
 07/20/20       Peggy Hunt               Call with UK attorneys re UK asset                 0.50      177.75
                                         recovery issues
 07/22/20       Peggy Hunt               Call with UK attorneys re asset recovery           1.50      533.25
                                         issues, and follow up on setting up
                                         meetings and issues; correspondence re
                                         Aslam bankruptcy files
 07/23/20       Peggy Hunt               Conference with BRG and UK counsel re              2.20      782.10
                                         asset recovery; follow up cal with BRG and
                                         correspondence (1.2); review files on asset
                                         recovery issues (1)
 07/23/20       Peggy Hunt               Correspondence with M. K re                        0.10       35.55
                                         administrative issues on international
                                         issues
 07/24/20       Peggy Hunt               Correspondence re tasks                            0.20       71.10
 07/29/20       Peggy Hunt               Correspondence with M. Blower re asset             5.30    1,884.15
                                         recovery issues (.3); asset recovery
                                         analysis, including reviewing files and
                                         obtaining documents necessary for UK
                                         defendants and correspondence with J.
                                         Wiest re tasks (5.)
 07/30/20       Peggy Hunt               Numerous correspondence with BRG and               2.00      711.00
                                         J. Wiest re asset recovery issues (.4); asset
                                         investigation and analysis, correspondence
                                         with BRG re same (1.6)
 07/31/20       Peggy Hunt               Correspondence with M. Blower re I.                0.10       35.55
                                         Aslam bankruptcy issues

                                                                      Total Hours:         14.40

                                                                                  Total Amount:    $ 5,119.20
                                                                                     Total Fees:     5,119.20
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
                                272 Filed
                                    Filed12/10/20
                                          10/12/20 PageID.46681
                                                   PageID.46520 Page
                                                                Page33
                                                                     11of
                                                                       of117
                                                                          39
 Invoice No.:      5483224                                                                        Page 3
 Matter No.:       194098.010100

 Description of Professional Services Rendered




 TASK CODE:             TMLS003      CLAIMS ADMINISTRATION



 DATE           TIMEKEEPER               DESCRIPTION                                  HOURS     AMOUNT

 07/01/20       Peggy Hunt               Review claims objection issues outlined by      0.80    284.40
                                         S. Goldberg; call with Epiq re claims
                                         objection issues, preparing emails and
                                         exhibits
 07/23/20       Peggy Hunt               Analysis of claims issues and                   0.80    284.40
                                         correspondence re same

                                                                    Total Hours:         1.60

                                                                               Total Amount:    $ 568.80
                                                                                  Total Fees:     568.80




 TASK CODE:             TMLS004      FEE ISSUES



 DATE           TIMEKEEPER               DESCRIPTION                                  HOURS     AMOUNT

 07/06/20       Peggy Hunt               Review and comment on S. Goldberg fee           0.30      0.00
                                         reconsideration declaration
 07/10/20       Peggy Hunt               Final review and revision of motion to          1.30      0.00
                                         reconsider employment issues
 07/28/20       Peggy Hunt               Final correspondence on fee notices and         0.30      0.00
                                         correspondence with SEC re same

                                                                    Total Hours:         1.90

                                                                               Total Amount:      $ 0.00
                                                                                  Total Fees:       0.00
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
                                272 Filed
                                    Filed12/10/20
                                          10/12/20 PageID.46682
                                                   PageID.46521 Page
                                                                Page34
                                                                     12of
                                                                       of117
                                                                          39
 Invoice No.:    5483224                                                             Page 4
 Matter No.:     194098.010100

 Description of Professional Services Rendered


 TIMEKEEPER ACTIVITY GRAND TOTAL SUMMARY

 Timekeeper Name                             Hours Billed     Rate       Total $ Amount
 Peggy Hunt                                        22.20    355.50             7,892.10
                                                    1.90    355.50                 0.00

                         Totals:                   24.10    327.47   $         7,892.10
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
                                272 Filed
                                    Filed12/10/20
                                          10/12/20 PageID.46683
                                                   PageID.46522 Page
                                                                Page35
                                                                     13of
                                                                       of117
                                                                          39
 Invoice No.:   5483224                                                  Page 5
 Re:            Receiver for Traffic Monsoon / Receiver Services
 Matter No.:    194098.010100


 Description of Expenses Billed:
 DATE           DESCRIPTION                                            AMOUNT

                                    No expenses charged to this file
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
                                272 Filed
                                    Filed12/10/20
                                          10/12/20 PageID.46684
                                                   PageID.46523 Page
                                                                Page36
                                                                     14of
                                                                       of117
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                  EXHIBIT B
 Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                        Document280
                                 272 Filed
                                     Filed12/10/20
                                           10/12/20 PageID.46685
                                                    PageID.46524 Page
                                                                 Page37
                                                                      15of
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                                                       DORSEY & WHITNEY (EUROPE) LLP

                                                                          199 Bishopsgate
                                                                        London, EC2M 3UT

                                                                        Tel: 020-7031 3700
                                                                        Fax: 020-7031 3799

                                                                           Vat No. 447 008 166


                           STATEMENT OF ACCOUNT FOR PROFESSIONAL SERVICES

Peggy Hunt, Traffic Monsoon - Legal                                                                                                                          19/8/2020
222 South Main Street, 5th Floor                                                                                                                Invoice No. 201041913
Salt Lake City, UT 84111
U.S.A.




For Legal Services Rendered Through 31 July 2020

                                                                   INVOICE TOTAL


          Total For Current Legal Fees                                                                                                                         $570.50

         Total For Current Disbursement and Service Charges                                                                                                     $31.06

          Total For Current Invoice                                                                                                                            $601.56

* Please refer to last page for any unpaid invoices and a current statement of account.

                                                         Amounts are shown in U.S. Dollars




For your convenience, please remit payment to the address below or we offer the option of remitting payment electronically by wire
transfer. If you have any questions regarding this information, please contact the lawyer you are working with on this project or
Dorsey’s Accounts Receivable Department at 1-800-861-0760. Thank you.

Mailing Instructions:                                    Wire Instructions:                                                  (This account is only for Wire/ACH payments)
Dorsey & Whitney LLP                                                                                                         ABA Routing Number:
P.O. Box 1680                                                                                                                Account Number:
Minneapolis, MN 55480-1680                                                                                                   Swift Code:

                                                        Please make reference to the invoice number

                         Service charges are based on rates established by Dorsey & Whitney. A schedule of those rates has been provided and is available
                        upon request. Disbursements and service charges, which either have not been received or processed, will appear on a later statement.


         ALL INVOICES ARE DUE 30 DAYS FROM DATE OF INVOICE UNLESS OTHERWISE EXPRESSLY AGREED BY DORSEY & WHITNEY

02327 / 502566-00006
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
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                                          10/12/20 PageID.46686
                                                   PageID.46525 Page
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                                                                     16of
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                                                 DORSEY & WHITNEY (EUROPE) LLP

                                                                    199 Bishopsgate
                                                                  London, EC2M 3UT

                                                                  Tel: 020-7031 3700
                                                                  Fax: 020-7031 3799

                                                                     Vat No. 447 008 166


                     STATEMENT OF ACCOUNT FOR PROFESSIONAL SERVICES


Peggy Hunt, Traffic Monsoon - Legal                                                                                                                    19/8/2020
222 South Main Street, 5th Floor                                                                                                          Invoice No. 201041913
Salt Lake City, UT 84111
U.S.A.

Client-Matter No.: 502566-00006
PMH /Traffic Monsoon - International




For Legal Services Rendered Through 31 July 2020


01/07/20 F. Sacree                                       0.10                  22.50 Reviewing and sending email to court re
                                                                                     inspection of the documents, as per M. Blower
01/07/20 J. Lewin                                        0.20                  93.00 Draft email to court

01/07/20 M. Blower                                       0.40               260.00 Review draft email to court; updating client

14/07/20 M. Blower                                       0.30               195.00 Email to client regarding next steps and access
                                                                                   to Manchester court file


          Total Hours                                    1.00

                                                                                     Total For Legal Fees                                                $570.50

Disbursements and Service Charges

            Filing Fee - Barclaycard - County Court - Traffic Monsoon                                                                                      31.06
            01/04/20



                   Service charges are based on rates established by Dorsey & Whitney. A schedule of those rates has been provided and is available
                  upon request. Disbursements and service charges, which either have not been received or processed, will appear on a later statement.


     ALL INVOICES ARE DUE 30 DAYS FROM DATE OF INVOICE UNLESS OTHERWISE EXPRESSLY AGREED BY DORSEY & WHITNEY
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
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                                    Filed12/10/20
                                          10/12/20 PageID.46687
                                                   PageID.46526 Page
                                                                Page39
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Peggy Hunt, Traffic Monsoon - Legal                                                                                                                      19/8/2020
Client-Matter No.: 502566-00006                                                                                                                             Page 2
Invoice No.: 201041913




                                     Total for Disbursements Not Liable to VAT                                                                             $31.06

                                                                                          Total This Invoice                                              $601.56

                                                   Amounts are shown in U.S. Dollars




                   Service charges are based on rates established by Dorsey & Whitney. A schedule of those rates has been provided and is available
                  upon request. Disbursements and service charges, which either have not been received or processed, will appear on a later statement.


     ALL INVOICES ARE DUE 30 DAYS FROM DATE OF INVOICE UNLESS OTHERWISE EXPRESSLY AGREED BY DORSEY & WHITNEY
 Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                        Document280
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                                                    PageID.46527 Page
                                                                 Page40
                                                                      18of
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                                                          DORSEY & WHITNEY (EUROPE) LLP

                                                                             199 Bishopsgate
                                                                           London, EC2M 3UT

                                                                           Tel: 020-7031 3700
                                                                           Fax: 020-7031 3799

                                                                              Vat No. 447 008 166


                              STATEMENT OF ACCOUNT FOR PROFESSIONAL SERVICES

Peggy Hunt, Traffic Monsoon - Legal                                                                                                                             29/9/2020
222 South Main Street                                                                                                                              Invoice No. 201042016
5th Floor
Salt Lake City
UT 84111
U.S.A.




For Disbursements and Service Charges Rendered Through 29 September 2020

                                                                      INVOICE TOTAL


         Total For Current Disbursement and Service Charges                                                                                                       £1,000.00

         Total For Current Invoice                                                                                                                                £1,000.00



                                                          Amounts are shown in Sterling GBP£




For your convenience, we offer the option of remitting payment electronically by wire transfer. Information necessary to
transmit funds electronically is provided below. Thank you.

                       Barclays Bank plc.                                                                             Account Name:
                       Broadgate Branch                                                                               Account No:
                       155 Bishopsgate                                                                                Sort Code:
                       London EC2                                                                                     Swift Code:
                                                                                                                      IBAN No.

                                                       Please make reference to the invoice number

                            Service charges are based on rates established by Dorsey & Whitney. A schedule of those rates has been provided and is available
                           upon request. Disbursements and service charges, which either have not been received or processed, will appear on a later statement.


         ALL INVOICES ARE DUE 30 DAYS FROM DATE OF INVOICE UNLESS OTHERWISE EXPRESSLY AGREED BY DORSEY & WHITNEY

02327 / 502566-00006
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
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                                          10/12/20 PageID.46689
                                                   PageID.46528 Page
                                                                Page41
                                                                     19of
                                                                       of117
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                                                 DORSEY & WHITNEY (EUROPE) LLP

                                                                    199 Bishopsgate
                                                                  London, EC2M 3UT

                                                                   Tel: 020-7031 3700
                                                                   Fax: 020-7031 3799

                                                                     Vat No. 447 008 166


                     STATEMENT OF ACCOUNT FOR PROFESSIONAL SERVICES


Peggy Hunt, Traffic Monsoon - Legal                                                                                                                    29/9/2020
222 South Main Street                                                                                                                     Invoice No. 201042016
5th Floor
Salt Lake City
UT 84111
U.S.A.

Client-Matter No.: 502566-00006
PMH / Traffic Monsoon - International




For Disbursements and Service Charges Rendered Through 29 September 2020

Disbursements and Service Charges

             Professional Services (BBS Law Ltd) - Local Counsel                                                                                         £1,000.00
             Invoice No. 41711 dated 31/07/20

                                                                              Total for Disbursements                                                    £1,000.00

                                                                                          Total This Invoice                                             £1,000.00

                                                 Amounts are shown in Sterling GBP£




                   Service charges are based on rates established by Dorsey & Whitney. A schedule of those rates has been provided and is available
                  upon request. Disbursements and service charges, which either have not been received or processed, will appear on a later statement.


     ALL INVOICES ARE DUE 30 DAYS FROM DATE OF INVOICE UNLESS OTHERWISE EXPRESSLY AGREED BY DORSEY & WHITNEY
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
                                272 Filed
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                                          10/12/20 PageID.46690
                                                   PageID.46529 Page
                                                                Page42
                                                                     20of
                                                                       of117
                                                                          39




  DORSEY & WHITNEY (EUROPE) LLP trading as Dorsey & Whitney (Europe) LLP
  199 Bishopsgate
  London
  EC2M 3UT


  Email:
  Securities and Exchange Commission v Traffic Monsoon LLC and Charles David
  Scoville
  Invoice No: 8261
  Account No: 417811                                Tax Point:      31/07/2020
                                                        Costs        Disbursements   Recharges &         VAT          VAT
                                                                                      Expenses                        Rate
  To professional charges in relation to
  acting on your behalf on the above matter

  In the agreed amount
                                                      £1,000.00                                         £200.00       20%




  TOTALS                                              £1,000.00            £ 0.00         £ 0.00        £200.00

  With Compliments                                                                       Total        £1,200.00
                                                                                       Charges

  BBS Law Ltd

  Bank Details:

  BBS Law Ltd Client Account
  Handelsbanken plc
  Trinity Tower, 9 Thomas More Street
  London E1W 1WY
  Client Account: 21127002
  Sort Code: 40-51-62
  Please quote: CW/417811

                                      V.A.T. Reg. No. 142 4885 05
                    Our standard payment terms are 30 days from the date of this invoice

                                               Click here to pay online




  London Office: Ninth Floor, City Tower, 40 Basinghall Street, London, EC2V 5DE T: 0204 505 8080
  Manchester Office: First Floor, The Edge, Clowes Street, Manchester M3 5NA
  mail@bbslaw.co.uk | www.bbslaw.co.uk | Fax: 0161 834 4826 |

  BBS Law Ltd is a limited company registered in England registered number 07202211. The term Partner is used
  to refer to a Director of BBS Law Ltd. A list of Directors of BBS Law Ltd is open to inspection at its registered
  office, First Floor, The Edge, Clowes Street, Manchester M3 5NA. Authorised and regulated by the Solicitors
  Regulation Authority Practice ID No.556112 V.A.T. 142 4885 05
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
                                272 Filed
                                    Filed12/10/20
                                          10/12/20 PageID.46691
                                                   PageID.46530 Page
                                                                Page43
                                                                     21of
                                                                       of117
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                  EXHIBIT C
                        Case
                        Case2:16-cv-00832-JNP
                             2:16-cv-00832-JNP Document
                                               Document280
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                                                                  10/12/20 PageID.46692
                                                                           PageID.46531 Page
                                                                                        Page44
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                                                                                                  39


Peggy Hunt‐ Receiver for Traffic Monsoon/Legal Services
Services Rendered July 1, 2020 to July 30, 2020

                       Task Code                                      Task Description   Hours         Fees            Write Off   Requested Fees
TMLS‐TMLS001                                              Administration                    5.50   $       1,828.50   $ (247.50)   $     1,581.00
TMLS‐TMLS002                                              Asset Recovery                    50.8          18,809.50           ‐    $    18,809.50
TMLS‐TMLS003                                              Claims Administration              7.9           2,704.50           ‐    $     2,704.50
TMLS‐TMLS004                                              Fee Issues                        14.3   $       4,762.50     (4,762.50) $          ‐
TMLS‐TMLS005                                              Plan of Distribution               0.0   $            ‐                  $          ‐
TMLS‐TMLS006                                              International                     51.4   $      33,429.50                $    33,429.50
                                                          Total Fees                      129.90   $      61,534.50   $ (5,010.00) $    56,524.50
TMLS‐TMLS007                                              Out‐of‐Pocket Expenses                              21.27                $        21.27
                                                          Invoice Total                                                            $    56,545.77
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
                                272 Filed
                                    Filed12/10/20
                                          10/12/20 PageID.46693
                                                   PageID.46532 Page
                                                                Page45
                                                                     23of
                                                                       of117
                                                                          39




                                                              Invoice No. : 5483244
                                                              File No.    : 194096.010100
                                                              Bill Date : August 4, 2020


 Peggy Hunt
 222 S. Main Street, 5th Floor
 Salt Lake City, UT 84101




                                         INVOICE




 Re: Receiver for Traffic Monsoon/Legal Services

 Legal Services through July 31, 2020:
                                                                     $        61,534.50
                                         Less Courtesy Discount:     $        (5,010.00)
                                                     Total Fees:     $        56,524.50



 Expenses:
       Information and Research                         21.27
                                            Total Expenses:         $             21.27

                                           Current Invoice:         $         56,545.77




 PH:SG
 Tax ID:
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
                                272 Filed
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                                          10/12/20 PageID.46694
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 Description of Professional Services Rendered:


 TASK CODE:                TMLS001   ADMINISTRATION



 DATE           TIMEKEEPER              DESCRIPTION                                  HOURS       AMOUNT

 07/14/20       Carson Heninger         Reviewed documents and file re: case            0.75      247.50
                                        background (billed 1/2 time)
 07/16/20       Sarah Goldberg          Team strategy meeting regarding claims          0.90      310.50
                                        process, and other matters (.8); review
                                        outstanding matters (.1)
 07/16/20       Carson Heninger         Interoffice meeting with GT attorneys           0.80      264.00
                                        discussing case and action items.
 07/16/20       Carson Heninger         Call with John Wiest discussing projects        0.30       99.00
                                        going forward.
 07/16/20       John Wiest              Meet with P. Hunt, S. Goldberg, and C.          1.00      330.00
                                        Heninger re action items (.8);
                                        correspondence with P. Hunt and J. Shaw
                                        re FTI payment (.2)
 07/16/20       John Wiest              Meet with C. Heninger and correspondence        0.50      165.00
                                        with C. Heninger re tasks (.5)
 07/17/20       Carson Heninger         Conference with J. Weist re tasks.              0.50      165.00

                                                                   Total Hours:         4.75

                                                                              Total Amount:    $ 1,581.00
                                                                                 Total Fees:     1,581.00




 TASK CODE:                TMLS002   ASSET RECOVERY



 DATE           TIMEKEEPER              DESCRIPTION                                  HOURS       AMOUNT

 07/07/20       John Wiest              Research potential actions against payment      0.40      132.00
                                        processors (.4)
 07/08/20       Ian Jack                Commerce call with John Wiest providing         0.80      748.00
                                        background. Email from John Wiest with
                                        background papers
 07/08/20       John Wiest              Phone conference with B. Vitou, R.              5.90    1,947.00
                                        Cheetham, and I. Jack re issues in the UK
                                        (1.4); phone conference with P. Hunt re
                                        same (.3); draft summary to B. Vitou re
                                        same (1.2); research potential actions
                                        against payment processors (3)
 07/09/20       John Wiest              Research possible actions against payment       0.30       99.00
                                        processors (.3)
 07/13/20       Struan F. Clark         Telecon with Utah office re Traffic             1.20      324.00
                                        Monsoon
 07/13/20       John Wiest              Phone conference with P. Hunt, M.               3.40    1,122.00
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
                                272 Filed
                                    Filed12/10/20
                                          10/12/20 PageID.46695
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 Description of Professional Services Rendered

                                         Khamisa, B. Vitou, J. Ian, and P. Hunt re
                                         possible actions in UK against net winners
                                         (1.2); draft memorandum re case
                                         background and key documents to London
                                         colleagues (2.2)
 07/14/20       Ian Jack                 Emails John Wiest regarding bankruptcy           0.70    654.50
                                         searches in relation to Imtiaz Aslam
 07/14/20       John Wiest               Phone conference with P. Hunt, M.                0.50    165.00
                                         Khamisa, B. Vitou, J. Ian, and P. Hunt re
                                         possible actions in UK against net winners
                                         (1.2); draft memorandum re case
                                         background and key documents to London
                                         colleagues (2.1)
 07/15/20       Ian Jack                 Conference call with Peggy Hunt and              0.90    841.50
                                         others providing background. Email to
                                         John Wiest regarding use of agents in
                                         Manchester to obtain court papers
 07/15/20       John Wiest               Phone conference with P. Hunt, M.                0.70    231.00
                                         Khamisa, B. Vitou, J. Ian, and P. Hunt re
                                         possible actions in UK against net winners
                                         (1.2); draft memorandum re case
                                         background and key documents to London
                                         colleagues (2.1)
 07/16/20       Carson Heninger          Investigated Payza and the DOJ                   1.20    396.00
                                         proceedings.
 07/16/20       John Wiest               Meet with and correspondence with C.             0.20     66.00
                                         Heninger re motions for turnover (.2)
 07/17/20       Carson Heninger          (1.5) reviewed pleadings from                    3.40   1,122.00
                                         zeekrewards.com case (.8) researched
                                         background of Payza; (.8) research re
                                         turnover motions; (.3) drafted portion of
                                         memo.
 07/17/20       John Wiest               Correspondence with I. Bean, S. Clark, M.        0.60    198.00
                                         Khamisa, and P. Hunt re transfer of
                                         Manchester flat and discovery issues
 07/20/20       Carson Heninger          Reviewed pleadings in ZeekRewards case           1.50    495.00
                                         and did preliminary research regarding
                                         turnover motions.
 07/20/20       Ian Jack                 Conference call with Peggy Hunt and              1.10   1,028.50
                                         others in relation to various queries relating
                                         to bank accounts and ability to bring
                                         proceedings against individuals
 07/20/20       John Wiest               Phone conference with P. Hunt, M.                1.30    429.00
                                         Khamisa, B. Vitou, and J. Ian, re possible
                                         actions in UK against net winners (.9);
                                         phone conference with P. Hunt re same
                                         (.1); correspondence with P. Hunt, M.
                                         Khamisa, J. Ian, and S. Clark re service on
                                         UK defendants (.3)
 07/22/20       Carson Heninger          Researched re turnover motions and               2.80    924.00
                                         contempt of court proceedings.
 07/22/20       John Wiest               Phone conference with P. Hunt, M.                1.30    429.00
                                         Khamisa, B. Vitou, I. Bean re possible
Case
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 Description of Professional Services Rendered

                                         actions in UK against net winners (.8);
                                         phone conference with P. Hunt, R. Strong,
                                         and J. Shaw re same (.5)
 07/23/20       Carson Heninger          Researched and began preparing memo on            1.80       594.00
                                         turnover motions.
 07/23/20       John Wiest               Phone conference with P. Hunt, M.                 0.80       264.00
                                         Khamisa, I. Bean, R. Strong, and J. Shaw
                                         re financial information re possible actions
                                         in UK against net winners (.8)
 07/26/20       John Wiest               Correspondence with P. Hunt re payment            0.20        66.00
                                         processors (.2)
 07/27/20       Carson Heninger          (.3) reviewed notes of actions and proposed       0.40       132.00
                                         plans for recovery of assets from e-wallet
                                         companies.
 07/27/20       John Wiest               Draft motion for default judgment against         0.10        33.00
                                         Ganz (.1)
 07/28/20       Carson Heninger          Researched personal jurisdiction issues           1.90       627.00
                                         with foreign defaulted parties.
 07/28/20       John Wiest               Draft motion for summary judgment                 0.90       297.00
                                         against Ganz (.6); correspondence with C.
                                         Heninger re research on personal
                                         jurisdiction (.3)
 07/29/20       Carson Heninger          Researched case law on specific personal          4.60     1,518.00
                                         jurisdiction regarding internet contacts and
                                         drafted email summarizing research.
 07/29/20       John Wiest               Draft motion for summary judgment                 4.00     1,320.00
                                         against Ganz (2); review exhibits re
                                         Receiver's declaration in support of
                                         preliminary injunction and correspondence
                                         with P. Hunt re same (2)
 07/30/20       Carson Heninger          (.9) reviewed pleadings from ZeekRewards          2.00       660.00
                                         case; (1.5) researched law on ancillary and
                                         supplemental jurisdiction to give citations
                                         for motion for default judgment (.5).
 07/30/20       John Wiest               Draft motion for summary judgment                 5.60     1,848.00
                                         against Ganz (2.6); research on
                                         prejudgment interest and personal
                                         jurisdiction (4)
 07/31/20       John Wiest               Correspondence with P. Hunt re default            0.30        99.00
                                         judgment motion (.3)

                                                                     Total Hours:         50.80

                                                                                 Total Amount:    $ 18,809.50
                                                                                    Total Fees:     18,809.50
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
                                272 Filed
                                    Filed12/10/20
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 Description of Professional Services Rendered

 TASK CODE:              TMLS003     CLAIMS ADMINISTRATION



 DATE           TIMEKEEPER               DESCRIPTION                                     HOURS       AMOUNT

 07/01/20       Sarah Goldberg           Review filed claims and analyze potential          3.70    1,276.50
                                         objections and strategy (3); call with Epiq
                                         regarding objections and next steps (.7)
 07/01/20       John Wiest               Phone conference with S. Goldberg re               0.50      165.00
                                         claims process (.5)
 07/06/20       Sarah Goldberg           Review and analyze issues regarding                2.70      931.50
                                         claims from F. Santos
 07/07/20       John Wiest               Phone conference with S. Goldberg re               0.90      297.00
                                         claims process (.5)
 07/22/20       Sarah Goldberg           Call to company interested in purchasing           0.10       34.50
                                         claims

                                                                      Total Hours:          7.90

                                                                                  Total Amount:    $ 2,704.50
                                                                                     Total Fees:     2,704.50


 TASK CODE:              TMLS004     FEE ISSUES



 DATE           TIMEKEEPER               DESCRIPTION                                     HOURS       AMOUNT

 07/02/20       Sarah Goldberg           Begin preparing declaration for motion to          0.90        0.00
                                         reconsider employing GT
 07/06/20       Sarah Goldberg           Draft declaration regarding billing rate           1.00        0.00
 07/06/20       John Wiest               Draft notices of fee requests for April            1.60        0.00
                                         through June 2020 (1.6)
 07/07/20       John Wiest               Correspondence with P. Hunt and S.                 0.10        0.00
                                         Goldberg re declarations in support of
                                         motion to reconsideration employment
                                         application (.1)
 07/08/20       John Wiest               Correspondence re declarations                     0.20        0.00
 07/10/20       Sarah Goldberg           Revisions regarding motion to reconsider           1.00        0.00
                                         order of rate limitations
 07/10/20       John Wiest               Review and revise motion to reconsider             1.30        0.00
                                         motion to employ GT, Goldberg
                                         declaration re same, and Wiest declaration
                                         re same (1); draft proposed order granting
                                         same (.3)
 07/13/20       John Wiest               Finalize and file motion to reconsider order       0.80        0.00
                                         conditionally granting motion to employ
                                         GT (.8)
 07/14/20       Carson Heninger          Researched similar cases and analyzed              1.40        0.00
                                         attorney fees allowed. Drafted email to co-
                                         counsel.
 07/14/20       John Wiest               Correspondence with P. Hunt and S.                 0.30        0.00
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
                                272 Filed
                                    Filed12/10/20
                                          10/12/20 PageID.46698
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 Description of Professional Services Rendered

                                         Goldberg re hearing on fee issues (.3)
 07/16/20       Carson Heninger          (.2) reviewed pleadings;                           0.20      0.00
 07/23/20       Carson Heninger          Reviewed exhibits and prepared fee                 1.00      0.00
                                         notices. Discussed with John Wiest and
                                         Peggy Hunt. Reviewed emails relating to
                                         fee notices and emailed Peggy Hunt.
 07/23/20       John Wiest               Correspondence with C. Heninger re April           0.10      0.00
                                         to June fee notices (.1)
 07/27/20       Carson Heninger          Drafted fee notices, reviewed invoices,            2.40      0.00
                                         reviewed emails, drafted emails to
                                         appropriate parties to review and sign
                                         notices.
 07/27/20       Carson Heninger          Reviewed Dorsey invoices and                       0.40      0.00
                                         corresponded with them to finalize fee
                                         notices.
 07/28/20       Carson Heninger          Prepared and finalized fee notices.                1.20      0.00
 07/29/20       Carson Heninger          Reviewed email from S. Marsden and                 0.40      0.00
                                         complete fee notices for April and May.
                                         Emailed to P. Hunt.

                                                                      Total Hours:         14.30

                                                                                  Total Amount:      $ 0.00
                                                                                     Total Fees:       0.00




 TASK CODE:              TMLS006      INTERNATIONAL



 DATE           TIMEKEEPER               DESCRIPTION                                     HOURS     AMOUNT

 07/08/20       Rupert Cheetham          Research on cross-border recognition of            2.50   1,850.00
                                         foreign insolvency officeholder;
                                         considering public information on Traffic
                                         Monsoon bankruptcy case; preparing for
                                         and attending call with John Wiest, Ian
                                         Jack and Barry Vitou; follow up call with
                                         Ian Jack.
 07/08/20       Barry Vitou              Conference call.                                   0.70    654.50
 07/09/20       Rupert Cheetham          Call with Mohammed Khamisa in relation             1.10    814.00
                                         to Santander disclosure, recognition and
                                         asset tracing remedies in the UK; call to Ian
                                         Jack in relation to next steps; email to John
                                         Wiest.
 07/09/20       Mohammed J. Khamisa      Reading email from Barry Vitou and as to           1.30   1,202.50
                                         the case from the decisions of the District
                                         Court and Appeals court
 07/13/20       Rupert Cheetham          Research on cross-border recognition of            1.30    962.00
                                         foreign insolvency officeholder; discussion
                                         with Ian Jack
 07/13/20       Mohammed J. Khamisa      Telecon with PH/JW/BV to discuss the               1.30   1,202.50
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
                                272 Filed
                                    Filed12/10/20
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 Description of Professional Services Rendered

                                         options available to them in relation to
                                         proceedings) obtaining disclosure of
                                         information from Santander UK in relation
                                         to the bank account; b) recognition of a US
                                         receiver in England pre and post
                                         judgement; and c) potential claims in
                                         England against accomplices of Scoville
                                         (including in relation to the claim of the
                                         bankruptcy estate to the proceeds of the
                                         sale of the apartment). here; recognition
                                         of Receiver. agenda items:
 07/13/20       Mohammed J. Khamisa      Reviewing further material in email from      2.30   2,127.50
                                         JW and attachment re: Aslam-LOR; FTI;
                                         various orders; class action claims
 07/13/20       Barry Vitou              Conference call.                              1.00    935.00
 07/14/20       Ian Bean                 Discussion of background with MKQC            1.20    786.00
                                         plus considering/agreeing next steps.
 07/14/20       Struan F. Clark          Reading through documents sent by Utah        1.60    432.00
                                         office
 07/14/20       Struan F. Clark          Initial meeting with Mo and Ian B             0.60    162.00
 07/14/20       Barry Vitou              Email in. Brief review of FTI report.         0.30    280.50
 07/15/20       Rupert Cheetham          Reviewing emails re personal bankruptcy       0.40    296.00
                                         of Imtiaz Aslam
 07/15/20       Jack Parish              GT UK - Helping Ian/Rupert. Collating         1.60    432.00
                                         information on Imtiaz Aslam / Traffic
                                         Monsoon. Companies House, insolvency,
                                         K16, Gazette and High Court searches.
                                         Correspondence. Status update. Calling
                                         Manchester court.
 07/15/20       Barry Vitou              IJ email in and review.                       0.10      93.50
 07/17/20       Ian Bean                 Detailed review of documents and              7.70   5,043.50
                                         discussion of next steps with Mohammed.
 07/17/20       Struan F. Clark          Strategy meeting re Traffic Monsoon           0.40     108.00
 07/17/20       Struan F. Clark          Email summary for Ian                         0.50     135.00
 07/17/20       Struan F. Clark          Review of documents                           0.70     189.00
 07/17/20       Mohammed J. Khamisa      Email from JW attaching Netwinners            1.70   1,572.50
                                         schedule; Sarah Spindley's statement re:
                                         Manchester Flat ; executed LORs. Perusal
                                         of the PPL docs
 07/19/20       Struan F. Clark          Reading all docs related to Manchester        1.40    378.00
                                         property sale
 07/20/20       Ian Bean                 Further review of documents, preparation      3.60   2,358.00
                                         of strategy note for discussion with
                                         Mohammed and attendance on call with
                                         Peggy and John to discuss next steps.
 07/20/20       Struan F. Clark          Strategy draft                                1.20    324.00
 07/20/20       Struan F. Clark          Traffic Monsoon call                          0.70    189.00
 07/20/20       Mohammed J. Khamisa      Reading affidavits of process servers on      1.00    925.00
                                         defendants in the UK
 07/20/20       Mohammed J. Khamisa      Reviewing note and summary from team          0.50    462.50
                                         following their detailed review of
                                         additional papers
 07/20/20       Mohammed J. Khamisa      Reviewing the draft note for telecon with     1.00    925.00
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
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 Description of Professional Services Rendered

                                         PH
 07/21/20       Struan F. Clark          Reading through court summons sent by             0.50       135.00
                                         John Wiest
 07/22/20       Ian Bean                 Preparation for and attendance on call with       1.90     1,244.50
                                         Peggy and John.
 07/22/20       Struan F. Clark          Strategy discussions with MK and IB               0.60       162.00
 07/22/20       Struan F. Clark          Preparing for call with the US                    0.50       135.00
 07/22/20       Struan F. Clark          Call with the US                                  0.80       216.00
 07/22/20       Mohammed J. Khamisa      Telecon with PH/JW to discussion the case         1.00       925.00
                                         and update and review of material received
                                         from them so far
 07/23/20       Ian Bean                 Reviewing documents (.8), discussion of           1.80     1,179.00
                                         strategy with Mohammed, plus attendance
                                         on call with Peggy and BRG team (.8)
 07/23/20       Mohammed J. Khamisa      Team discussion of EL; outsanding data            0.30       277.50
                                         and next steps
 07/23/20       Mohammed J. Khamisa      Telecon with Peggy Hunt/Ray and Jeff              1.00       925.00
                                         from BRG to discuss their forensic data
                                         analysis and to explain the information that
                                         is required for making our applications
                                         against the defendants
 07/27/20       Ian Bean                 Considering excel spreadsheet provided by         3.10     2,030.50
                                         BRG, emails with BRG re same plus
                                         further reviewing documents in order to
                                         pursue bankers trust order.
 07/29/20       Ian Bean                 Kickoff call with Amy Rogers (Barrister)          0.80       524.00
                                         in order to discussion approach, plus
                                         working on bundle of documents and
                                         sending to Amy.
 07/29/20       Struan F. Clark          Organising douments and sending to                0.70       189.00
                                         barrister
 07/31/20       Mohammed J. Khamisa      Reading email from JW re: review of               0.70       647.50
                                         bankruptcy file by local agent in
                                         Manchester. Reading the summary.
                                         Drafting reply to JW dealing questions
                                         raised.

                                                                     Total Hours:         51.40

                                                                                 Total Amount:    $ 33,429.50
                                                                                    Total Fees:     33,429.50
Case
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                       Document280
                                272 Filed
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 Description of Professional Services Rendered


 TIMEKEEPER ACTIVITY GRAND TOTAL SUMMARY

 Timekeeper Name                             Hours Billed     Rate       Total $ Amount
 Ian Jack                                           3.50    935.00             3,272.50
 Mohammed J. Khamisa                               12.10    925.00            11,192.50
 Barry Vitou                                        2.10    935.00             1,963.50
 Rupert Cheetham                                    5.30    740.00             3,922.00
 Struan F. Clark                                   11.40    270.00             3,078.00
 Sarah Goldberg                                     7.40    345.00             2,553.00
 Sarah Goldberg                                     2.90    345.00                 0.00
 Carson Heninger                                   21.95    330.00             7,243.50
 Carson Heninger                                    7.00    330.00                 0.00
 Jack Parish                                        1.60    270.00               432.00
 John Wiest                                         29.4    287.04             9,702.00
 John Wiest                                         4.40    330.00                 0.00
 Ian Bean                                          20.10    655.00            13,165.50

                         Totals:                  129.15    437.67   $        56,524.50
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
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 Invoice No.:   5483244                                                                    Page 9
 Re:            Receiver for Traffic Monsoon/Legal Services
 Matter No.:    194096.010100


 Description of Expenses Billed:
 DATE           DESCRIPTION                                                              AMOUNT

 07/24/20       VENDOR: Company Registrations Online Limited; INVOICE#: 244811;      $      21.27
                DATE: 7/24/2020 - Fees in connection with the provision of full
                insolvency reports & bankruptcy petition search

                                                                   Total Expenses:   $      21.27
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
                                272 Filed
                                    Filed12/10/20
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Case
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                       Document280
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  Case
  Case2:16-cv-00832-JNP
       2:16-cv-00832-JNP Document
                         Document280
                                  272 Filed
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To: Peggy Hunt                                                                         Page 2 of 6
c/o: Greenberg Traurig, LLP                                                      Invoice # 102435
RE: Traffic Monsoon Receivership                                     Client-Matter: 00997-014823

Services Rendered From July 1, 2020 Through July 31, 2020

PROFESSIONAL SERVICES
                                                             Rate      Hours            Amount
Managing Director
  Ray Strong                                                330.00     22.50           7,425.00

Senior Managing Consultant
   Jeffrey Shaw                                             285.00     14.70           4,189.50
   Jeffrey Shaw                                               0.00      1.10               N/C

Senior Associate
   Jason Strong                                             230.00      3.00             690.00

Total Professional Services                                            41.30          12,304.50

EXPENSES

Data Retrieval                                                                            82.19
Subcontracted Services                                                                    50.00
Total Expenses                                                                           132.19
  Case
  Case2:16-cv-00832-JNP
       2:16-cv-00832-JNP Document
                         Document280
                                  272 Filed
                                      Filed12/10/20
                                            10/12/20 PageID.46706
                                                     PageID.46545 Page
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To: Peggy Hunt                                                                Page 3 of 6
c/o: Greenberg Traurig, LLP                                             Invoice # 102435
RE: Traffic Monsoon Receivership                            Client-Matter: 00997-014823

SUMMARY BY TASK CODE

 Task Code    Description                                      Hours          Amount
 110.0000     General Accounting Issues                         2.90            826.50
 120.0000     Monthly Operating Report Preparation              1.10            313.50
 500.0000     Avoidance Action Analysis                        36.20         11,164.50
 950.0000     Fee Application Preparation & Hearing             1.10              0.00

Total Professional Services                                     41.30        12,304.50
  Case
  Case2:16-cv-00832-JNP
       2:16-cv-00832-JNP Document
                         Document280
                                  272 Filed
                                      Filed12/10/20
                                            10/12/20 PageID.46707
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To: Peggy Hunt                                                                                                Page 4 of 6
c/o: Greenberg Traurig, LLP                                                                             Invoice # 102435
RE: Traffic Monsoon Receivership                                                            Client-Matter: 00997-014823

Services Rendered From July 1, 2020 Through July 31, 2020

DETAIL OF PROFESSIONAL SERVICES

Date         Name                         Description                               Hours        Rate          Amount

Task Code: 110.0000 - General Accounting Issues
07/13/20     Jeffrey Shaw               Emails regarding professional fee            0.20      285.00            57.00
                                        payments.
07/14/20     Jeffrey Shaw                 Reviewed, prepared and coordinated         1.10      285.00           313.50
                                          payment of outstanding payables.
07/14/20     Jeffrey Shaw                 Call with Metro Bank and email to          0.50      285.00           142.50
                                          Receiver regarding wire issues.
07/15/20     Jeffrey Shaw                 Reviewed bank activity to confirm          0.30      285.00            85.50
                                          status of payment and email regarding
                                          the same.
07/16/20     Jeffrey Shaw                 Follow-up regarding payments.              0.20      285.00            57.00
07/16/20     Jeffrey Shaw                 Reviewed bank statements and email         0.20      285.00            57.00
                                          to Receiver regarding the same.
07/20/20     Jeffrey Shaw                 Recorded activity in Trust Works.          0.40      285.00           114.00
                                          Total for Task Code 110.0000               2.90                       826.50

Task Code: 120.0000 - Monthly Operating Report Preparation
07/20/20     Jeffrey Shaw               Reviewed activity for the quarter            1.10      285.00           313.50
                                        ended 6.30.20 and prepared quarterly
                                        report.
                                          Total for Task Code 120.0000               1.10                       313.50

Task Code: 500.0000 - Avoidance Action Analysis
07/23/20     Jeffrey Shaw               Attended call with Receiver regarding        0.20      285.00            57.00
                                        net winner strategy and process.
07/23/20     Jeffrey Shaw                 Attended call with UK counsel              0.60      285.00           171.00
                                          regarding net winner strategy and
                                          process.
07/23/20     Ray Strong                   Attended call with UK litigation team      0.60      330.00           198.00
                                          regarding avoidance action issues.
07/23/20     Ray Strong                   Discussed call with UK litigation team     0.20      330.00            66.00
                                          with the Receiver to coordinate
                                          requests.
07/23/20     Ray Strong                   Analyzed case data and information in      1.10      330.00           363.00
                                          preparation for call with UK litigation
                                          team.
  Case
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       2:16-cv-00832-JNP Document
                         Document280
                                  272 Filed
                                      Filed12/10/20
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To: Peggy Hunt                                                                                        Page 5 of 6
c/o: Greenberg Traurig, LLP                                                                     Invoice # 102435
RE: Traffic Monsoon Receivership                                                    Client-Matter: 00997-014823

Date         Name                  Description                              Hours        Rate          Amount
07/26/20     Ray Strong            Reviewed and analyzed transaction         6.20      330.00         2,046.00
                                   activity for UK legal team prosecution
                                   of claw back claims.
07/27/20     Jeffrey Shaw          Discussion regarding analysis to be       0.30      285.00            85.50
                                   completed in connection with UK claw
                                   back actions.
07/27/20     Jeffrey Shaw          Reviewed activity and prepared net        3.50      285.00           997.50
                                   winner schedules for UK claw backs.
07/27/20     Ray Strong            Analyzed case documentation and TM        2.10      330.00           693.00
                                   website data at request from UK legal
                                   team for prosecution of net winner
                                   claims.
07/28/20     Jeffrey Shaw          Reviewed activity and prepared net        4.50      285.00         1,282.50
                                   winner schedules for UK claw backs.
07/28/20     Ray Strong            Analyzed net winner data and              2.50      330.00           825.00
                                   documentation at request of UK legal
                                   team for prosecution of net winner
                                   claims.
07/30/20     Jeffrey Shaw          Reviewed data, prepared schedules         0.90      285.00           256.50
                                   and submitted to UK counsel
                                   regarding net winners.
07/30/20     Jeffrey Shaw          Reviewed and updated UK net winner        0.70      285.00           199.50
                                   schedules.
07/30/20     Ray Strong            Analyzed case documentation for           1.50      330.00           495.00
                                   payment processor information for
                                   members at request of UK legal team
                                   for prosecution of net winner claims.
07/30/20     Jason Strong          Re-setup www.trafficmonsoon.com to        3.00      230.00           690.00
                                   work in server's new location.
                                   Troubleshot and fixed SMTP issue for
                                   register and verification emails not
                                   being sent in connection with
                                   avoidance actions.
07/30/20     Ray Strong            Analyzed net winner data and              2.80      330.00           924.00
                                   documentation at request of UK legal
                                   team for prosecution of net winner
                                   claims.
07/30/20     Ray Strong            Analyzed TM website data and              4.10      330.00         1,353.00
                                   member on-boarding process to assist
                                   UK legal team regarding prosecution
                                   of net winner claims.
  Case
  Case2:16-cv-00832-JNP
       2:16-cv-00832-JNP Document
                         Document280
                                  272 Filed
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                                            10/12/20 PageID.46709
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To: Peggy Hunt                                                                                                  Page 6 of 6
c/o: Greenberg Traurig, LLP                                                                               Invoice # 102435
RE: Traffic Monsoon Receivership                                                              Client-Matter: 00997-014823

Date         Name                          Description                               Hours         Rate          Amount
07/31/20     Ray Strong                    Compiled documentation, data, and           1.40      330.00           462.00
                                           information for UK legal team to assist
                                           with prosecution of net winner claims.
                                           Total for Task Code 500.0000               36.20                    11,164.50

Task Code: 950.0000 - Fee Application Preparation & Hearing
07/16/20     Jeffrey Shaw                Reviewed and revised time entries and         0.40        0.00              N/C
                                         descriptions for June 2020 bill.
07/17/20     Jeffrey Shaw                  Reviewed, finalized and submitted           0.30        0.00              N/C
                                           June bill.
07/27/20     Jeffrey Shaw                  Reviewed and verified May-Jun 2020          0.40        0.00              N/C
                                           fee notices.
                                           Total for Task Code 950.0000                1.10                         0.00

Professional Services                                                                 41.30                    12,304.50

DETAIL OF EXPENSES

Date             Description                                                                                     Amount
06/30/20         CCH - CCH 6/24/20 - Data Retrieval Invoice #: 5411176877 Vchr Comment: Account                    75.69
                 #4001041067 Timekeeper : 09999 - Applicable, Not
07/31/20         CCH - CCH 7/28/20 - Data Retrieval Invoice #: 5411213869 Vchr Comment: Account                     6.50
                 #4001041067 Timekeeper : 09999 - Applicable, Not
07/31/20         Strong Connexions, Inc. - Subcontracted Services- Server Backup Invoice #: 6671 Vchr              50.00
                 Comment: Services of Jason Strong on Matter# 14823 in July 2020. Timekeeper :
                 03021 - Strong, Jason

Expenses                                                                                                          132.19
Case 2:16-cv-00832-JNP Document 280 Filed 12/10/20 PageID.46710 Page 62 of 117




                   EXHIBIT 3
Case
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                                  273 Filed
                                       Filed12/10/20
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 Peggy Hunt (Utah #6060)
 Sarah Goldberg (Utah #13222)
 John J. Wiest (Utah #15767)
 GREENBERG TRAURIG, LLP
 222 South Main Street, 5th Floor
 Salt Lake City, UT 84101
 Telephone: (801) 478-6900
 huntp@gtlaw.com
 goldbergsa@gtlaw.com
 wiestj@gtlaw.com

 Attorneys for Court-Appointed Receiver Peggy Hunt


                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF UTAH


     SECURITIES AND EXCHANGE                       NOTICE OF REQUEST FOR PAYMENT
     COMMISSION,                                     BY RECEIVER AND RECEIVER’S
                                                           PROFESSIONALS
                          Plaintiff,
                                                         (AUGUST 1, 2020, THROUGH
     vs.                                                     AUGUST 31, 2020)

     TRAFFIC MONSOON, LLC, a Utah limited                       2:16-cv-00832-JNP
     liability company, and CHARLES DAVID
     SCOVILLE, an individual,                              The Honorable Jill N. Parrish

                          Defendants.


           Pursuant to the Order Establishing Administrative Expense Payment Procedures entered

 by the Court on June 13, 2017, 1 Peggy Hunt, the Court-appointed receiver in the above-

 captioned case (the “Receiver”), hereby submits the following Notice of Request for Payment by

 Receiver and Receiver’s Professionals related to fees and expenses incurred during the period of

 August 1, 2020, through August 31, 2020 (the “Notice”). The fees and expenses detailed in this


 1
     Docket No. 101.
Case
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 Notice have been reviewed and approved, subject to Court approval, by the Receiver. This

 Notice was served on the Securities and Exchange Commission on October 6, 2020, and the

 Commission has informed the Receiver it does not oppose this request.

                Name of Applicant                                            Receiver

                Total Hours of Service                                                11.70

                Total Fees for Time Period                               $       4,017.15 2

                Total Expenses for Time Period                           $              0.00

                Total                                                    $         4,017.15

                Total Interim Payment Requested:                         $         3,213.72
                (80% of Fees and 100% of Expenses)

                Remaining Balance:                                       $           803.43

                Time and Services Detail:                                    Exhibit A

                Name of Applicant                                            Greenberg Traurig, LLP

                Total Hours of Service                                               99.30

                Total Fees for Time Period                               $     34,334.50 3

                Total Expenses for Time Period                           $             0.00

                Total                                                    $      34,334.50

                Total Interim Payment Requested:                         $      27,467.60
                (80% of Fees and 100% of Expenses)

                Remaining Balance:                                       $        6,866.90

                Time and Services Detail:                                    Exhibit B




 2
     Incurred fees totaling $4,159.35, less a voluntary reduction of fees in the amount of $142.20.
 3
     Incurred fees totaling $36,611.50, less a voluntary reduction of fees in the amount of $2,277.00.


                                                             2
Case
 Case2:16-cv-00832-JNP
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                Name of Applicant                                            Berkeley Research Group

                Total Hours of Service                                               46.80

                Total Fees for Time Period                               $     13,918.50 4

                Total Expenses for Time Period                           $           50.50

                Total                                                    $      13,969.00

                Total Interim Payment Requested:                         $      11,185.30
                (80% of Fees and 100% of Expenses)

                Remaining Balance:                                       $       2,783.70

                Time and Services Detail:                                    Exhibit C



                                              [Signature Page Follows]




 4
     Incurred fees totaling $14,061.00, less a voluntary reduction of fees in the amount of $142.50.


                                                             3
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  DATED October 12, 2020.
                                            RECEIVER


                                               /s/ Peggy Hunt
                                            Peggy Hunt


                                            GREENBERG TRAURIG, LLP


                                                /s/ Sarah Goldberg
                                            Sarah Goldberg
                                            Counsel for Receiver


                                            BERKELEY RESEARCH GROUP


                                                /s/ Marvin Tenenbaum
                                            Marvin Tenenbaum
                                            Senior Vice President & Special Advisor to
                                            the Chairman
                                            Accountants for Receiver




                                        4
Case
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                                 CERTIFICATE OF SERVICE

          I hereby certify that on October 12, 2020, I caused the foregoing to be electronically
 filed with the Clerk of the Court using the CM/ECF system, which will send notification of
 the filing to all counsel of record in this case.

                                                       /s/ Carson Heninger

        I further certify that on October 12, 2020, I caused the foregoing to be served as follows:

 Via Email:

        The SEC
        Casey Fronk
        Daniel J. Wadley
        Amy J. Oliver
        Cheryl M. Mori
        fronkc@sec.gov
        waldleyd@sec.gov
        olivera@sec.gov
        moric@sec.gov

        BRG
        Matt K. Babcock
        Jeff Shaw
        Ray Strong
        mbabcock@thinkbrg.com
        JShaw@thinkbrg.com
        rstrong@thinkbrg.com

 Via U.S. Mail, First Class, postage pre-paid:

        Traffic Monsoon
        c/o Charles Scoville
        JUAB COUNTY JAIL
        PO BOX 133
        NEPHI, UT 84648

        Charles David Scoville
        JUAB COUNTY JAIL
        PO BOX 133
        NEPHI, UT 84648

                                                       /s/ Candy Long


                                                  5
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                   EXHIBIT A
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Peggy Hunt‐ Receiver for Traffic Monsoon/Receiver Services
Services Rendered August 1, 2020 to August 31, 2020

                           Task Code                               Task Description   Hours        Fees      Write Off  Requested Fees
TMLS‐TMLS001                                                 Administration            2.70   $     959.85              $       959.85
TMLS‐TMLS002                                                 Asset Recovery             6.2       2,204.10         ‐    $     2,204.10
TMLS‐TMLS003                                                 Claims Administration      2.4         853.20         ‐    $       853.20
TMLS‐TMLS004                                                 Fee Issues                 0.4   $     142.20     (142.20) $          ‐
TMLS‐TMLS005                                                 Plan of Distribution       0.0   $        ‐                $          ‐
TMLS‐TMLS006                                                 International              0.0   $        ‐                $          ‐
                                                             Total Fees               11.70   $   4,159.35   $ (142.20) $     4,017.15
TMLS‐TMLS007                                                 Out‐of‐Pocket Expenses                    ‐                $          ‐
                                                             Invoice Total                                              $     4,017.15
Case
 Case2:16-cv-00832-JNP
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                                                                Invoice No. 5483243
                                                                File No.    194098.010100
                                                                Bill Date : September 30, 2020


 Peggy Hunt
 222 S. Main Street, 5th Floor
 Salt Lake City, UT 84101




                                           INVOICE




 Re: Receiver for Traffic Monsoon / Receiver Services

 Legal Services through August 31, 2020:

                                                                       $         5,557.50
                                           Less Courtesy Discount:     $        (1,540.35)
                                                        Total Fees:    $         4,017.15

                                             Current Invoice:         $          4,017.15




 PH:SG
 Tax ID:
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
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 Invoice No.:      5483243                                                                    Page 1
 Matter No.:       194098.010100


 Description of Professional Services Rendered:


 TASK CODE:             TMLS001    ADMINISTRATION


 DATE           TIMEKEEPER           DESCRIPTION                                   HOURS    AMOUNT

 08/03/20       Peggy Hunt           Review memo from J. Wiest re status of          0.40    142.20
                                     numerous items; numerous correspondence
                                     with J. Wiest, S. Goldberg and C. Heninger
                                     re tasks
 08/13/20       Peggy Hunt           Correspondence and conference with C.           0.10     35.55
                                     Heninger re tasks
 08/18/20       Peggy Hunt           Attend to banking and Epiq bill issues          0.20     71.10
 08/20/20       Peggy Hunt           Attend to numerous administrative matters;      1.00    355.50
                                     conference with J. Shaw re status
 08/24/20       Peggy Hunt           Prepare for and attend call with Stretto re     0.50    177.75
                                     cost savings on claims process
 08/26/20       Peggy Hunt           Analysis of tasks and status;                   0.50    177.75
                                     correspondence re same; correspondence re
                                     status report (.5)

                                                                 Total Hours:        2.70

                                                                            Total Amount:   $ 959.85



 TASK CODE:             TMLS002    ASSET RECOVERY


 DATE           TIMEKEEPER           DESCRIPTION                                   HOURS    AMOUNT

 08/05/20       Peggy Hunt           Conference with J. Wiest re default             1.60    568.80
                                     interest; call with M. Thomson re payment
                                     processor issues (.3); strategy call re
                                     payment processing companies (.3);
                                     correspondence re payment processing
                                     companies (.2); review and comment on
                                     Ganz default judgment motion (.8)
 08/06/20       Peggy Hunt           Review and comment on R. Strong                 0.90    319.95
                                     declaration on Ganz default; conference
                                     with BRG re same
 08/07/20       Peggy Hunt           Call with UK team on asset recovery             0.50    177.75
                                     strategy and issues
 08/13/20       Peggy Hunt           Correspondence with UK office on                0.20     71.10
                                     investigation of net winners
 08/18/20       Peggy Hunt           Correspondence re Ganz judgment and             1.40    497.70
                                     interest issues (.3); review investigator
                                     proposal on winners, analysis of same, and
                                     correspondence with S. Clark re same (1.1)
 08/19/20       Peggy Hunt           Correspondence re asset recovery issues         0.30    106.65
Case
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                                273 Filed
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                                                                          28
 Invoice No.:      5483243                                                                         Page 2
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 Description of Professional Services Rendered

 08/20/20       Peggy Hunt               Review and comment on declaration on           1.00      355.50
                                         Ganz default judgment and correspondence
                                         re same (.5); review and comment on letter
                                         of request re Santandar bank records (.5)
 08/20/20       Peggy Hunt               Correspondence and call with R. Strong re      0.30      106.65
                                         default judgment declaration content

                                                                    Total Hours:        6.20

                                                                               Total Amount:   $ 2,204.10




 TASK CODE:             TMLS003     CLAIMS ADMINISTRATION


 DATE           TIMEKEEPER               DESCRIPTION                                  HOURS      AMOUNT

 08/18/20       Peggy Hunt               Conference with S. Goldberg re claims;         0.30      106.65
                                         follow up on same
 08/26/20       Peggy Hunt               Review and analysis of claims procedure        1.60      568.80
                                         motion and suggested procedures, and
                                         revisions to same (1.5); correspondence
                                         with S. Goldberg re same (.1)
 08/28/20       Peggy Hunt               Call with S. Goldberg re claim procedures      0.50      177.75
                                         and follow up

                                                                    Total Hours:        2.40

                                                                               Total Amount:    $ 853.20



 TASK CODE:             TMLS004     FEE ISSUES


 DATE           TIMEKEEPER               DESCRIPTION                                  HOURS      AMOUNT

 08/19/20       Peggy Hunt               Review Dorsey invoice; correspondence          0.40        0.00
                                         with S. Marsden re issues with same;
                                         review revised invoices; correspondence
                                         with C. Heninger re preparing June fee
                                         notice

                                                                    Total Hours:        0.40

                                                                               Total Amount:       $ 0.00
Case
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                                273 Filed
                                    Filed12/10/20
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 Invoice No.:    5483243                                                             Page 3
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 Description of Professional Services Rendered



 TIMEKEEPER ACTIVITY GRAND TOTAL SUMMARY

 Timekeeper Name                             Hours Billed     Rate       Total $ Amount
 Peggy Hunt                                         0.40      0.00                 0.00
 Peggy Hunt                                        11.30    355.50             4,017.15

                         Totals:                   11.70    343.35   $         4,017.15
Case
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 Invoice No.:   5483243                                                  Page 4
 Re:            Receiver for Traffic Monsoon / Receiver Services
 Matter No.:    194098.010100


 Description of Expenses Billed:

 DATE           DESCRIPTION                                            AMOUNT

                                    No expenses charged to this file
Case
Case2:16-cv-00832-JNP
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                  EXHIBIT B
                     Case
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                          2:16-cv-00832-JNP Document
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Peggy Hunt‐ Receiver for Traffic Monsoon/Legal Services
Services Rendered August 1, 2020 to August 31, 2020

                         Task Code                              Task Description   Hours         Fees        Write Off   Requested Fees
TMLS‐TMLS001                                              Administration             0.70   $      231.00   $       ‐    $       231.00
TMLS‐TMLS002                                              Asset Recovery             48.8       16,104.00           ‐    $    16,104.00
TMLS‐TMLS003                                              Claims Administration      23.0        7,935.00           ‐    $     7,935.00
TMLS‐TMLS004                                              Fee Issues                  6.9   $    2,277.00     (2,277.00) $          ‐
TMLS‐TMLS005                                              Plan of Distribution        0.0   $         ‐                  $          ‐
TMLS‐TMLS006                                              International              19.9   $   10,064.50                $    10,064.50
                                                          Total Fees                99.30   $   36,611.50   $ (2,277.00) $    34,334.50
TMLS‐TMLS007                                              Out‐of‐Pocket Expenses                                         $          ‐
                                                          Invoice Total                                                  $    34,334.50
Case
Case2:16-cv-00832-JNP
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                                273 Filed
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                                                                Invoice No. : 5483249
                                                                File No.    : 194096.010100
                                                                Bill Date : September 30, 2020


 Peggy Hunt
 222 S. Main Street, 5th Floor
 Salt Lake City, UT 84101




                                           INVOICE




 Re: Receiver for Traffic Monsoon/Legal Services

 Legal Services through August 31, 2020:
                                                                       $        36,611.50
                                           Less Courtesy Discount:     $        (2,277.00)
                                                       Total Fees:     $        34,334.50


                                             Current Invoice:         $         34,334.50




 PH:SG
 Tax ID:
Case
Case2:16-cv-00832-JNP
     2:16-cv-00832-JNP Document
                       Document280
                                273 Filed
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 Description of Professional Services Rendered:



 TASK CODE:              TMLS001   ADMINISTRATION



 DATE           TIMEKEEPER            DESCRIPTION                                   HOURS     AMOUNT

 08/19/20       Carson Heninger       Reviewed emails and drafted emails to            0.30     99.00
                                      receiver. Reviewed notice of appearance.
 08/19/20       John Wiest            Review files transferred from Dorsey and         0.20     66.00
                                      correspondence with P. Hunt re same (.2)
 08/21/20       John Wiest            Review emails from Dorsey and                    0.20     66.00
                                      correspondence with S. Marsden re same

                                                                  Total Hours:         0.70

                                                                             Total Amount:    $ 231.00
                                                                                Total Fees:     231.00




 TASK CODE:              TMLS002   ASSET RECOVERY



 DATE           TIMEKEEPER            DESCRIPTION                                   HOURS     AMOUNT

 08/03/20       John Wiest            Draft motion for summary judgment                2.60    858.00
                                      against Ganz (.6); draft declaration in
                                      support (.5); research prejudgment interest
                                      (1.5)
 08/04/20       John Wiest            Draft motion for summary judgment                3.40   1,122.00
                                      against Ganz (.4); draft declaration in
                                      support (1); research recent case law on
                                      personal jurisdiction (2)
 08/05/20       Carson Heninger       Call with P. Hunt, J. Wiest, and M.              0.70    231.00
                                      Thomson regarding status of claims against
                                      payment processors. Researched applicable
                                      law.
 08/05/20       John Wiest            Draft declaration in support of motion for       4.50   1,485.00
                                      default judgment against Ganz (1); phone
                                      conference with P. Hunt, C. Heninger, and
                                      M. Thomson re payment processor claims
                                      (.5); correspondence with London
                                      colleagues and BRG re claims against UK
                                      defendants (.4); research case law on
                                      turnover motions (2.6)
 08/06/20       Carson Heninger       Discussed action items with J. Wiest,            1.30    429.00
                                      reviewed memoranda from BRG regarding
                                      fees charged by payment processors,
                                      researched applicable law.
Case
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     2:16-cv-00832-JNP Document
                       Document280
                                273 Filed
                                    Filed12/10/20
                                          10/12/20 PageID.46727
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 Matter No.:       194096.010100

 Description of Professional Services Rendered

 08/06/20       John Wiest               Research case law on motions for turnover         6.60     2,178.00
                                         against payment processors (1.9); analyze
                                         BRG reports re amounts held by payment
                                         processors (1); phone conference with
                                         Hunt, Strong, Shaw re prejudgment interest
                                         (.5); review and revise motion for default
                                         judgment against Ganz and declaration in
                                         support (.8); review Payza and Allied
                                         Wallet agreements (2); draft proposed
                                         default judgment (.4)
 08/07/20       John Wiest               Research proposed default judgments and           3.10     1,023.00
                                         draft proposed default judgment against
                                         Ganz (3.1)
 08/10/20       John Wiest               Draft motion for letter of request re             5.40     1,782.00
                                         Santander (4); draft declaration in support
                                         of motion (1.4)
 08/11/20       John Wiest               Draft default judgment against Ganz (.5);         4.50     1,485.00
                                         draft declaration in support of motion for
                                         letter of request re Santander (1); draft
                                         proposed letter of request re Santander
                                         (3.1)
 08/12/20       John Wiest               Draft proposed letter of request and prepare      1.70       561.00
                                         exhibits (1.7)
 08/13/20       John Wiest               Correspondence with S. Clark and P. Hunt          0.20        66.00
                                         re hiring investigators in UK (.2)
 08/18/20       John Wiest               Correspondence Hunt default Ganz letter           2.80       924.00
                                         (.3); draft motion for default judgment
                                         against Barker, declaration in support, and
                                         proposed default judgment (1.2);
 08/19/20       John Wiest               Review and analyze TM agreement with              2.10       693.00
                                         Payza (2.1)
 08/20/20       John Wiest               Review TM agreements with Payza and               5.90     1,947.00
                                         analyze potential clawback actions for
                                         funds owed (3.1); revise declarations in
                                         support of motions for default judgment
                                         against Ganz and Barker proposed
                                         judgments, and military service
                                         declarations (2.7)
 08/21/20       John Wiest               Finalize and file motion for default              2.70       891.00
                                         judgment against Ganz and documents in
                                         support(1.1); finalize and file motion for
                                         default judgment against Barker and
                                         documents in support Barker (1.3);
                                         correspondence with I. Bean re proposed
                                         letter of request (.3)
 08/31/20       John Wiest               Review Allied Wallet agreements with TM           1.30       429.00
                                         (1.3)

                                                                     Total Hours:         48.80

                                                                                 Total Amount:    $ 16,104.00
                                                                                    Total Fees:     16,104.00
Case
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                                273 Filed
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 Matter No.:       194096.010100

 Description of Professional Services Rendered



 TASK CODE:              TMLS003     CLAIMS ADMINISTRATION



 DATE           TIMEKEEPER               DESCRIPTION                                    HOURS       AMOUNT

 08/05/20       Sarah Goldberg           Begin drafting motion to approve claims           1.00      345.00
                                         objection procedure
 08/11/20       Sarah Goldberg           Draft claim objection motion                      5.00    1,725.00
 08/12/20       Sarah Goldberg           Analysis of claims and draft claim                3.80    1,311.00
                                         objection procedure motion
 08/13/20       Sarah Goldberg           Analysis of claims and draft claim                2.60      897.00
                                         objection procedure motion
 08/14/20       Sarah Goldberg           Draft motion to approve claim objection           4.20    1,449.00
                                         process
 08/17/20       Sarah Goldberg           Draft claim objection process motion              0.70      241.50
 08/19/20       Sarah Goldberg           Review issues relating to Fabio Santos; call      1.70      586.50
                                         with M. Thomson regarding same
 08/27/20       Sarah Goldberg           Review revisions of Receiver to claim             0.50      172.50
                                         objection procedure motion
 08/28/20       Sarah Goldberg           Call with Receiver regarding claim                2.80      966.00
                                         objection procedure (.6); review and
                                         analyze methods for dealing with contested
                                         claims (1.2)
 08/31/20       Sarah Goldberg           Review claims motion (.4); call with Epiq         0.70      241.50
                                         regarding claim objection issues

                                                                     Total Hours:         23.00

                                                                                 Total Amount:    $ 7,935.00
                                                                                    Total Fees:     7,935.00



 TASK CODE:              TMLS004     FEE ISSUES



 DATE           TIMEKEEPER               DESCRIPTION                                    HOURS       AMOUNT

 08/03/20       Carson Heninger          Filed fee notices with the court and fixed        1.00        0.00
                                         PDF issue that was preventing filing.
                                         Served on all appropriate parties and
                                         calendared deadlines.
 08/20/20       Carson Heninger          Drafted June Fee Notice and finalized for         1.10        0.00
                                         P. Hunt's review. Drafted multiple emails
                                         to circulate to appropriate parties.
 08/21/20       Carson Heninger          Filed fee notice; emailed professionals;          0.40        0.00
                                         emailed assistant instructions.
 08/27/20       Carson Heninger          Began drafting ninth fee application with         2.30        0.00
                                         accompanying exhibits.
 08/28/20       Carson Heninger          Revised fee application and compiled              2.10        0.00
Case
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 Description of Professional Services Rendered

                                         exhibits. Drafted summary of fee and
                                         expenses for application period.

                                                                     Total Hours:         6.90

                                                                                Total Amount:     $ 0.00
                                                                                   Total Fees:      0.00



 TASK CODE:                TMLS006    INTERNATIONAL



 DATE           TIMEKEEPER               DESCRIPTION                                   HOURS     AMOUNT

 08/03/20       Mohammed J. Khamisa      Reading 40page declaration prepared by           1.00   925.00
                                         Ray Strong for the Dist Court summarizing
                                         the tasks, methodologies and analysis of
                                         the TM data obtained from Paypal and
                                         other digital wallets
 08/04/20       Struan F. Clark          Review of new material provided by BRG           0.50   135.00
 08/05/20       Ian Bean                 Brief discussion of strategy with                0.30   196.50
                                         Mohammed, plus emails with P. Hunt and
                                         J.Wiest re same.
 08/06/20       Ian Bean                 Preparation for and call with Amy Rogers,        1.10   720.50
                                         debrief with Mohammed and email to P.
                                         Hunt confirming call.
 08/06/20       Mohammed J. Khamisa      Telecon with Counsel Ms Amy Rogers to            0.70   647.50
                                         discuss the evidence and the applications
                                         for Bankers Trust orders; Norwich
                                         Pharmacol Orders for disclosure; pt8 claim
                                         ; disclosure application against E-wallets
                                         such as paypal etal
 08/07/20       Ian Bean                 Preparation for and attendance on call with      1.30   851.50
                                         P. Hunt and J. Wiest plus debrief with
                                         Mohammed and Struan re same.
 08/07/20       Struan F. Clark          Call and follow up work                          0.90   243.00
 08/07/20       Struan F. Clark          Collating all documents and creating index       1.70   459.00
                                         ahead of call
 08/07/20       Mohammed J. Khamisa      Pre-telecon discussion with I. Bean and          0.50   462.50
                                         then telecon with PH/JW
 08/10/20       Struan F. Clark          Letter of request analysis.                      1.60   432.00
 08/10/20       Struan F. Clark          Researching and corresponding with               0.40   108.00
                                         investigator for quotes
 08/11/20       Struan F. Clark          Call with investigator.                          0.40   108.00
 08/11/20       Struan F. Clark          Aslam summary for Terry Burke                    1.30   351.00
 08/11/20       Mohammed J. Khamisa      Telecon provide a brief outline of the work      0.50   462.50
                                         needed to trace defendants.
 08/12/20       Struan F. Clark          Discussing correspondence to investigator        0.20    54.00
                                         with M. Khamisa and sending the same.
 08/12/20       Struan F. Clark          Call with detectives and providing               0.80   216.00
                                         background re the same
 08/12/20       Mohammed J. Khamisa      Telecon with investigators to discuss the        0.50   462.50
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 Description of Professional Services Rendered

                                         scope of work and providing a verbal
                                         narrative of the case.
 08/13/20       Struan F. Clark          Correspondence with J. Wiest and receiver.        0.20           54.00
 08/13/20       Struan F. Clark          Liaising with Harod Associates and                0.60          162.00
                                         receiver and J. Wiest re the same.
 08/14/20       Ian Bean                 Discussion with Struan re approach with           0.40          262.00
                                         investigator and Struan providing update to
                                         receiver re same.
 08/17/20       Struan F. Clark          Reviewing Terms and Conditions of                 0.40          108.00
                                         investigator proposal.
 08/17/20       Mohammed J. Khamisa      Reviewing TOBs and Engagement Letter              0.50          462.50
                                         for investigator.
 08/18/20       Struan F. Clark          Attend to investigator issues.                    0.60          162.00
 08/19/20       Struan F. Clark          Finalizing engagement and liaising with M.        1.20          324.00
                                         Khamisa and P. Hunt re the same.
 08/24/20       Ian Bean                 Reviewing documents provided by J. Wiest          1.60        1,048.00
                                         including draft letter of request, preparing
                                         mark-up of letter plus discussion with
                                         Mohammed re documents to be requested.
 08/24/20       Mohammed J. Khamisa      Reviewing the various drafts sent through         0.70          647.50
                                         on letter of request and reviewing edits by
                                         I. Bean and approving.

                                                                     Total Hours:         19.90

                                                                                 Total Amount:      $ 10,064.50
                                                                                    Total Fees:       10,064.50




 TIMEKEEPER ACTIVITY GRAND TOTAL SUMMARY

 Timekeeper Name                             Hours Billed                       Rate          Total $ Amount
 Mohammed J. Khamisa                                 4.40                     925.00                4,070.00
 Struan F. Clark                                    10.80                     270.00                2,916.00
 Sarah Goldberg                                     23.00                     345.00                7,935.00
 Carson Heninger                                     9.20                      82.50                  759.00
 John Wiest                                         47.20                     330.00               15,576.00
 Ian Bean                                            4.70                     655.00                3,078.50

                           Totals:                  99.30                     345.77      $        34,334.50
Case
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 Invoice No.:   5483249                                                  Page 6
 Re:            Receiver for Traffic Monsoon/Legal Services
 Matter No.:    194096.010100


 Description of Expenses Billed:
 DATE           DESCRIPTION                                            AMOUNT

                                    No expenses charged to this file
Case
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                  EXHIBIT C
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  Case
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To: Peggy Hunt                                                                             Page 2 of 6
c/o: Greenberg Traurig, LLP                                                          Invoice # 102436
RE: Traffic Monsoon Receivership                                         Client-Matter: 00997-014823

Services Rendered From August 1, 2020 Through August 31, 2020

PROFESSIONAL SERVICES
                                                                 Rate      Hours            Amount
Managing Director
  Paul Shields                                                  345.00      1.10             379.50
  Ray Strong                                                    330.00     14.60           4,818.00

Senior Managing Consultant
   Jeffrey Shaw                                                 285.00     30.60           8,721.00
   Jeffrey Shaw                                                   0.00      0.50               N/C

Total Professional Services                                                46.80          13,918.50

EXPENSES

Postage                                                                                        0.50
Subcontracted Services                                                                        50.00
Total Expenses                                                                                50.50
  Case
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To: Peggy Hunt                                                                Page 3 of 6
c/o: Greenberg Traurig, LLP                                             Invoice # 102436
RE: Traffic Monsoon Receivership                            Client-Matter: 00997-014823

SUMMARY BY TASK CODE

 Task Code    Description                                      Hours          Amount
 110.0000     General Accounting Issues                         5.30          1,510.50
 500.0000     Avoidance Action Analysis                        41.00         12,408.00
 950.0000     Fee Application Preparation & Hearing             0.50              0.00

Total Professional Services                                     46.80        13,918.50
  Case
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To: Peggy Hunt                                                                                                Page 4 of 6
c/o: Greenberg Traurig, LLP                                                                             Invoice # 102436
RE: Traffic Monsoon Receivership                                                            Client-Matter: 00997-014823

Services Rendered From August 1, 2020 Through August 31, 2020

DETAIL OF PROFESSIONAL SERVICES

Date         Name                        Description                                Hours        Rate          Amount

Task Code: 110.0000 - General Accounting Issues
08/11/20     Jeffrey Shaw               Reviewed and recorded transactions in        1.20      285.00           342.00
                                        Trust Works.
08/11/20     Jeffrey Shaw                Follow-up with Receiver regarding           0.10      285.00            28.50
                                         outstanding payments.
08/17/20     Jeffrey Shaw                Follow-up with Receiver regarding           0.10      285.00            28.50
                                         payment of outstanding amounts.
08/18/20     Jeffrey Shaw                Reviewed current status of                  0.20      285.00            57.00
                                         outstanding payables.
08/20/20     Jeffrey Shaw                Reviewed and recorded activity in           0.50      285.00           142.50
                                         Trust Works.
08/20/20     Jeffrey Shaw                Reviewed and compiled support for           0.40      285.00           114.00
                                         wire payments.
08/20/20     Jeffrey Shaw                Reviewed and prepared supporting            0.70      285.00           199.50
                                         documents for payments.
08/20/20     Jeffrey Shaw                Reviewed, prepared and coordinated          2.10      285.00           598.50
                                         payment of outstanding payables.
                                         Total for Task Code 110.0000                5.30                     1,510.50

Task Code: 500.0000 - Avoidance Action Analysis
08/05/20     Jeffrey Shaw               Reviewed files and schedules related         1.50      285.00           427.50
                                        to payment processor activity and
                                        submitted requested items to counsel.
08/05/20     Jeffrey Shaw                Reviewed and responded to emails            0.20      285.00            57.00
                                         regarding default judgments and
                                         payment processors.
08/06/20     Jeffrey Shaw                Call with Receiver regarding re analysis    0.30      285.00            85.50
                                         to be completed on default judgment
                                         for avoidance actions.
08/06/20     Ray Strong                  Discussed default judgment issues and       0.30      330.00            99.00
                                         declaration to be prepared with
                                         Receiver.
08/10/20     Jeffrey Shaw                Discussion regarding prejudgment            0.20      285.00            57.00
                                         interest calculation.
08/10/20     Jeffrey Shaw                Reviewed ruling and prepared                1.90      285.00           541.50
                                         prejudgment interest calculations.
  Case
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To: Peggy Hunt                                                                                       Page 5 of 6
c/o: Greenberg Traurig, LLP                                                                    Invoice # 102436
RE: Traffic Monsoon Receivership                                                   Client-Matter: 00997-014823

Date         Name                  Description                             Hours        Rate          Amount
08/10/20     Paul Shields          Reviewed and discussed pre-judgment      0.50      345.00           172.50
                                   interest issues.
08/11/20     Jeffrey Shaw          Reviewed and discussed prejudgment       0.40      285.00           114.00
                                   interest calculation for default
                                   judgments.
08/11/20     Jeffrey Shaw          Prepared schedules for prejudgment       4.00      285.00         1,140.00
                                   interest calculation.
08/11/20     Paul Shields          Discussion regarding prejudgment         0.30      345.00           103.50
                                   interest calculation. Identified and
                                   remitted information regarding
                                   prejudgment interest rates.
08/11/20     Ray Strong            Analyzed pre-judgment interest issues    1.50      330.00           495.00
                                   for default judgments.
08/12/20     Jeffrey Shaw          Reviewed and prepared schedules for      4.20      285.00         1,197.00
                                   prejudgment interest calculation.
08/12/20     Ray Strong            Analyzed pre-judgment interest issues    1.30      330.00           429.00
                                   for default judgments.
08/13/20     Jeffrey Shaw          Reviewed and updated prejudgment         1.50      285.00           427.50
                                   interest calculation schedules.
08/13/20     Jeffrey Shaw          Discussion regarding prejudgment         0.30      285.00            85.50
                                   interest calculation.
08/13/20     Paul Shields          Reviewed issues associated with          0.30      345.00           103.50
                                   prejudgment interest calculation.
08/13/20     Ray Strong            Discussed pre-judgment interest          0.20      330.00            66.00
                                   analysis for Barker and Gantz with
                                   staff.
08/14/20     Jeffrey Shaw          Reviewed and updated prejudgment         1.20      285.00           342.00
                                   interest calculation schedules.
08/18/20     Jeffrey Shaw          Reviewed and updated prejudgment         5.10      285.00         1,453.50
                                   interest calculation schedules.
08/18/20     Jeffrey Shaw          Discussion regarding prejudgment         0.50      285.00           142.50
                                   interest calculation and schedules.
08/18/20     Ray Strong            Discussed Ganz and Barker net winner     0.50      330.00           165.00
                                   analysis and calculation of
                                   prejudgment interest with team.
08/18/20     Ray Strong            Analyzed and prepared draft Barker       0.30      330.00            99.00
                                   and Ganz declaration.
08/18/20     Ray Strong            Analyzed draft Ganz and Barker           0.30      330.00            99.00
                                   analysis for declaration.
  Case
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To: Peggy Hunt                                                                                                 Page 6 of 6
c/o: Greenberg Traurig, LLP                                                                              Invoice # 102436
RE: Traffic Monsoon Receivership                                                             Client-Matter: 00997-014823

Date         Name                         Description                                Hours        Rate          Amount
08/19/20     Jeffrey Shaw                 Reviewed and updated prejudgment            3.50      285.00           997.50
                                          interest calculation schedules and
                                          declaration narrative.
08/19/20     Ray Strong                   Analyzed and prepared Barker                4.40      330.00         1,452.00
                                          declaration and supporting schedules
                                          to be filed with the court.
08/20/20     Jeffrey Shaw                 Reviewed draft default judgment             0.20      285.00            57.00
                                          declaration.
08/20/20     Ray Strong                   Discussed Ganz and Barker declaration       0.20      330.00            66.00
                                          issues with Receiver.
08/20/20     Ray Strong                   Analyzed and finalized Ganz                 2.80      330.00           924.00
                                          declaration and supporting schedules
                                          to be filed with the court.
08/20/20     Ray Strong                   Analyzed and finalized Barker               2.80      330.00           924.00
                                          declaration and supporting schedules
                                          to be filed with the court.
08/21/20     Jeffrey Shaw                 Reviewed default judgment                   0.30      285.00            85.50
                                          declarations and exhibits.
                                          Total for Task Code 500.0000               41.00                    12,408.00

Task Code: 950.0000 - Fee Application Preparation & Hearing
08/20/20     Jeffrey Shaw                Reviewed June 2020 fee notice.               0.50        0.00              N/C
                                          Total for Task Code 950.0000                0.50                         0.00

Professional Services                                                                46.80                    13,918.50

DETAIL OF EXPENSES

Date             Description                                                                                    Amount
08/31/20         BRG Misc Clearing - BRG Misc Clearing 08/31/2020 Traffic Monsoon Postage                         0.50
                 Timekeeper : 09999 - Applicable, Not Invoice #: 083120a Vchr Comment: Salt Lake City
                 Postage August 2020
08/31/20         Strong Connexions, Inc. - Subcontracted Services- Monthly Back up Server Invoice #:              50.00
                 6854 Vchr Comment: Services of Jason Strong on Matter #14823 in August 2020.
                 Timekeeper : 03021 - Strong, Jason

Expenses                                                                                                          50.50
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                   EXHIBIT 4
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 Peggy Hunt (Utah #6060)
 Sarah Goldberg (Utah #13222)
 John J. Wiest (Utah #15767)
 GREENBERG TRAURIG, LLP
 222 South Main Street, 5th Floor
 Salt Lake City, UT 84101
 Telephone: (801) 478-6900
 huntp@gtlaw.com
 goldbergsa@gtlaw.com
 wiestj@gtlaw.com

 Attorneys for Court-Appointed Receiver Peggy Hunt


                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF UTAH


     SECURITIES AND EXCHANGE                       NOTICE OF REQUEST FOR PAYMENT
     COMMISSION,                                     BY RECEIVER AND RECEIVER’S
                                                           PROFESSIONALS
                          Plaintiff,
                                                       (SEPTEMBER 1, 2020, THROUGH
     vs.                                                    SEPTEMBER 30, 2020)

     TRAFFIC MONSOON, LLC, a Utah limited                       2:16-cv-00832-JNP
     liability company, and CHARLES DAVID
     SCOVILLE, an individual,                              The Honorable Jill N. Parrish

                          Defendants.


           Pursuant to the Order Establishing Administrative Expense Payment Procedures entered

 by the Court on June 13, 2017, 1 Peggy Hunt, the Court-appointed receiver in the above-

 captioned case (the “Receiver”), hereby submits the following Notice of Request for Payment by

 Receiver and Receiver’s Professionals related to fees and expenses incurred during the period of

 September 1, 2020, through September 30, 2020 (the “Notice”). The fees and expenses detailed


 1
     Docket No. 101.
Case
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 in this Notice have been reviewed and approved, subject to Court approval, by the Receiver. This

 Notice was served on the Securities and Exchange Commission on November 4, 2020, and the

 Commission has informed the Receiver it does not oppose this request.

                Name of Applicant                                            Receiver

                Total Hours of Service                                                 14.70

                Total Fees for Time Period                               $        4,372.65 2

                Total Expenses for Time Period                           $               0.00

                Total                                                    $         4,372.65

                Total Interim Payment Requested:                         $         3,498.12
                (80% of Fees and 100% of Expenses)

                Remaining Balance:                                       $           874.53

                Time and Services Detail:                                    Exhibit A

                Name of Applicant                                            Greenberg Traurig, LLP

                Total Hours of Service                                                29.50

                Total Fees for Time Period                               $       8,797.00 3

                Total Expenses for Time Period                           $          145.03

                Total                                                    $        8,942.03

                Total Interim Payment Requested:                         $        7,182.63
                (80% of Fees and 100% of Expenses)

                Remaining Balance:                                       $        1,759.40

                Time and Services Detail:                                    Exhibit B




 2
     Incurred fees totaling $5,225.85, less a voluntary reduction of fees in the amount of $853.20.
 3
     Incurred fees totaling $10,810.00, less a voluntary reduction of fees in the amount of $2,013.00.


                                                              2
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  278 Filed
                                       Filed12/10/20
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                                                                     Page94
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                Name of Applicant                                            Berkeley Research Group

                Total Hours of Service                                                12.70

                Total Fees for Time Period                               $       2,050.504

                Total Expenses for Time Period                           $            50.00

                Total                                                    $        2,100.50

                Total Interim Payment Requested:                         $        1,690.40
                (80% of Fees and 100% of Expenses)

                Remaining Balance:                                       $          410.10

                Time and Services Detail:                                    Exhibit C



                                               [Signature Page Follows]




 4
     Incurred fees totaling $3,646.50, less a voluntary reduction of fees in the amount of $1,596.00.


                                                              3
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  278 Filed
                                       Filed12/10/20
                                             11/10/20 PageID.46743
                                                       PageID.46609 Page
                                                                     Page95
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                                                                               117




  DATED November 10, 2020.
                                            RECEIVER

                                              /s/ Peggy Hunt
                                            Peggy Hunt


                                            GREENBERG TRAURIG, LLP


                                              /s/ Sarah Goldberg
                                            Sarah Goldberg
                                            Counsel for Receiver


                                            BERKELEY RESEARCH GROUP


                                               /s/ Marvin Tenenbaum
                                            Marvin Tenenbaum
                                            Senior Vice President & Special Advisor to
                                            the Chairman
                                            Accountants for Receiver




                                        4
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  278 Filed
                                       Filed12/10/20
                                             11/10/20 PageID.46744
                                                       PageID.46610 Page
                                                                     Page96
                                                                          5 of 26
                                                                               117




                                CERTIFICATE OF SERVICE

          I hereby certify that on November 10, 2020, I caused the foregoing to be electronically
 filed with the Clerk of the Court using the CM/ECF system, which will send notification of the
 filing to all counsel of record in this case.

        I further certify that on November 10, 2020, I caused the foregoing to be served:

 Via Email:

        The SEC
        Casey Fronk
        Daniel J. Wadley
        Amy J. Oliver
        Cheryl M. Mori
        fronkc@sec.gov
        waldleyd@sec.gov
        olivera@sec.gov
        moric@sec.gov

        BRG
        Matt K. Babcock
        Jeff Shaw
        Ray Strong
        mbabcock@thinkbrg.com
        JShaw@thinkbrg.com
        rstrong@thinkbrg.com
                                                      /s/ Carson Heninger




                                                 5
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  278 Filed
                                       Filed12/10/20
                                             11/10/20 PageID.46745
                                                       PageID.46611 Page
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                   EXHIBIT A
  Case
   Case2:16-cv-00832-JNP
        2:16-cv-00832-JNP Document
                           Document280
                                    278 Filed
                                         Filed12/10/20
                                               11/10/20 PageID.46746
                                                         PageID.46612 Page
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Peggy Hunt‐ Receiver for Traffic Monsoon/Receiver Services
Services Rendered September 1, 2020 to September 30, 2020

                        Task Code                                 Task Description    Hours       Fees
TMLS‐TMLS001                                                 Administration             8.50   $ 3,021.75
TMLS‐TMLS002                                                 Asset Recovery              0.8   $   284.40
TMLS‐TMLS003                                                 Claims Administration       3.0   $ 1,066.50
TMLS‐TMLS004                                                 Fee Issues                  2.4   $   853.00
TMLS‐TMLS005                                                 Plan of Distribution        0.0   $       ‐
TMLS‐TMLS006                                                 International               0.0   $       ‐
                                                             Total Fees                14.70   $ 5,225.65
TMLS‐TMLS007                                                 Out‐of‐Pocket Expenses                    ‐
                                                             Invoice Total
 Case
  Case2:16-cv-00832-JNP
       2:16-cv-00832-JNP Document
                          Document280
                                   278 Filed
                                        Filed12/10/20
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                                                        PageID.46613 Page
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                                                                                117




 Write Off  Requested Fees
$       ‐  $       3,021.75
$       ‐  $         284.40
$       ‐  $       1,066.50
$ (853.00) $            ‐
           $            ‐
$     ‐    $            ‐
$ (853.00) $       4,372.65
           $            ‐
           $       4,372.65
Case
 Case2:16-cv-00832-JNP
       2:16-cv-00832-JNPDocument
                         Document280
                                   278Filed
                                        Filed
                                            12/10/20
                                              11/10/20PageID.46748
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                                                                  Invoice No. : 5512589
                                                                  File No.    : 194098.010100
                                                                  Bill Date : October 31, 2020


  Peggy Hunt
  222 S. Main Street, 5th Floor
  Salt Lake City, UT 84101




                                         INVOICE




  Re: Receiver for Traffic Monsoon / Receiver Services

  Legal Services through September 30, 2020:
                                                                         $         5,225.85
                                           Less Courtesy Discount:       $          (853.20)
                                                       Total Fees:       $         4,372.65


                                               Current Invoice:         $          4,372.65




  PH:SG
  Tax ID:
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  278 Filed
                                       Filed12/10/20
                                             11/10/20 PageID.46749
                                                       PageID.46615 Page
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                                                                                117
  Invoice No.:      5512589                                                                            Page 1
  Matter No.:       194098.010100


  Description of Professional Services Rendered:



  TASK CODE:             TMLS001    ADMINISTRATION



 DATE            TIMEKEEPER            DESCRIPTION                                        HOURS      AMOUNT

 09/18/20        Peggy Hunt            Call with Stretto re banking issues                  0.20       71.10
 09/21/20        Peggy Hunt            Review website and correspondence re                 3.00    1,066.50
                                       updates necessary for same; obtain
                                       information and provide to Epiq (.5); finish
                                       draft of ninth status report, including
                                       review of files on certain issues and follow
                                       up emails on status of items (2.5)
 09/22/20        Peggy Hunt            Attend to numerous administrative tasks              1.90      675.45
                                       including investor communications and
                                       banking (.5); finalize status report and
                                       instructions to staff on same (.5);
                                       correspondence with S. Goldberg re
                                       numerous tasks (.1); review Epiq bill,
                                       conference with Epiq re same and re
                                       updates to website (.4); review S.
                                       Goldberg's comments on status report and
                                       incorporate same and email to staff re
                                       finalizing same for filing (.3);
                                       correspondence with J. Shaw re Epiq bill
                                       (.1)
 09/23/20        Peggy Hunt            Finalize SFAR and correspondence with                1.20      426.60
                                       staff re final revisions to status report; final
                                       review of status report and correspondence
                                       with staff re filing same; correspondence re
                                       numerous tasks (.7); review website
                                       changes, and correspondence with Epiq re
                                       further changes that need to be made (.5)
 09/24/20        Peggy Hunt            Correspondence re numerous tasks,                    0.50      177.75
                                       including Epiq billings; meeting with J.
                                       Shaw and update on status
 09/25/20        Peggy Hunt            Review changes to website, compile further           0.70      248.85
                                       changes and correspondence with Epiq re
                                       same (.5); review bank issues and email
                                       with B. Soper re interest rate (.1);
                                       conference with Epiq re cost of storage (.1)
 09/28/20        Peggy Hunt            Attend to estate administration issues               0.50      177.75
 09/29/20        Peggy Hunt            Attend to administrative issues                      0.20       71.10
 09/30/20        Peggy Hunt            Call with B. Soper re bank accounts and              0.30      106.65
                                       interest rates

                                                                      Total Hours:          8.50

                                                                                  Total Amount:    $ 3,021.75
                                                                                     Total Fees:     3,021.75
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  278 Filed
                                       Filed12/10/20
                                             11/10/20 PageID.46750
                                                       PageID.46616 Page
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                                                                          11 of 26
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  Invoice No.:      5512589                                                                              Page 2
  Matter No.:       194098.010100

  Description of Professional Services Rendered

  TASK CODE:             TMLS002      ASSET RECOVERY



 DATE            TIMEKEEPER               DESCRIPTION                                      HOURS       AMOUNT

 09/10/20        Peggy Hunt               Correspondence with J. Wiest re letter              0.30      106.65
                                          requests; review documents on same
 09/16/20        Peggy Hunt               Analysis of report on target defendants             0.30      106.65
 09/22/20        Peggy Hunt               Correspondence re letter of request                 0.10       35.55
 09/23/20        Peggy Hunt               Correspondence re letter of request                 0.10       35.55

                                                                      Total Hours:            0.80

                                                                                    Total Amount:     $ 284.40
                                                                                       Total Fees:      284.40




  TASK CODE:             TMLS003      CLAIMS ADMINISTRATION



 DATE            TIMEKEEPER               DESCRIPTION                                      HOURS       AMOUNT

 09/21/20        Peggy Hunt               Correspondence with Epiq re status of               0.10       35.55
                                          claims reports
 09/22/20        Peggy Hunt               Call with Epiq re claims reports and issues;        0.40      142.20
                                          correspondence re same
 09/23/20        Peggy Hunt               Correspondence with S. Goldberg re claim            0.60      213.30
                                          procedure issues
 09/24/20        Peggy Hunt               Analysis of claim objection issues and              0.80      284.40
                                          conference with Epiq and S. Goldberg re
                                          same
 09/24/20        Peggy Hunt               Review Epiq updated claims report and               0.50      177.75
                                          continued analysis of objection issues
 09/25/20        Peggy Hunt               Call with Epiq on claims issues, and follow         0.40      142.20
                                          up with S. Goldberg
 09/29/20        Peggy Hunt               Call with Epiq on claim objection issues            0.20       71.10

                                                                      Total Hours:            3.00

                                                                                    Total Amount:    $ 1,066.50
                                                                                       Total Fees:     1,066.50
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  278 Filed
                                       Filed12/10/20
                                             11/10/20 PageID.46751
                                                       PageID.46617 Page
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  Invoice No.:      5512589                                                                                Page 3
  Matter No.:       194098.010100

  Description of Professional Services Rendered


  TASK CODE:             TMLS004        FEE ISSUES



 DATE            TIMEKEEPER                DESCRIPTION                                   HOURS          AMOUNT

 09/22/20        Peggy Hunt                Review and revise ninth fee application and      2.00            0.00
                                           correspondence with C. Heninger re same
 09/23/20        Peggy Hunt                Correspondence with J. Shaw re fee               0.40            0.00
                                           application and fee payments;
                                           correspondence with A. Olver re fee
                                           application; correspondence with C.
                                           Heninger re order

                                                                       Total Hours:         2.40

                                                                                  Total Amount:           $ 0.00
                                                                                     Total Fees:            0.00




  TIMEKEEPER ACTIVITY GRAND TOTAL SUMMARY

  Timekeeper Name                              Hours Billed                      Rate          Total $ Amount
  Peggy Hunt                                          12.30                   355.50                 4,372.65
  Peggy Hunt                                           2.40                   355.50                     0.00

                              Totals:                 14.70                   297.46       $         4,372.65
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  278 Filed
                                       Filed12/10/20
                                             11/10/20 PageID.46752
                                                       PageID.46618 Page
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  Invoice No.:   5512589                                                   Page 4
  Re:            Receiver for Traffic Monsoon / Receiver Services
  Matter No.:    194098.010100


  Description of Expenses Billed:
  DATE           DESCRIPTION                                             AMOUNT

                                     No expenses charged to this file
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  278 Filed
                                       Filed12/10/20
                                             11/10/20 PageID.46753
                                                       PageID.46619 Page
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                    EXHIBIT B
                      Case
                       Case2:16-cv-00832-JNP
                            2:16-cv-00832-JNP Document
                                               Document280
                                                        278 Filed
                                                             Filed12/10/20
                                                                   11/10/20 PageID.46754
                                                                             PageID.46620 Page
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Peggy Hunt‐ Receiver for Traffic Monsoon/Legal Services
Services Rendered September 1, 2020 to September 30, 2020

                      Task Code                                   Task Description   Hours         Fees           Write Off   Requested Fees
TMLS‐TMLS001                                          Administration                    1.20   $         414.00 $        ‐    $       414.00
TMLS‐TMLS002                                          Asset Recovery                    12.6           4,158.00          ‐    $     4,158.00
TMLS‐TMLS003                                          Claims Administration              5.9           2,035.50          ‐    $     2,035.50
TMLS‐TMLS004                                          Fee Issues                         6.1   $       2,013.00    (2,013.00) $          ‐
TMLS‐TMLS005                                          Plan of Distribution               0.0   $            ‐                 $          ‐
TMLS‐TMLS006                                          International                      3.7   $       2,189.50               $     2,189.50
                                                      Total Fees                       29.50   $      10,810.00 $ (2,013.00) $      8,797.00
TMLS‐TMLS007                                          Out‐of‐Pocket Expenses                   $         145.03               $       145.03
                                                      Invoice Total                                                           $     8,942.03
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  278 Filed
                                       Filed12/10/20
                                             11/10/20 PageID.46755
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                                                               Invoice No. : 5515788
                                                               File No.    : 194096.010100
                                                               Bill Date : October 31, 2020


  Peggy Hunt
  222 S. Main Street, 5th Floor
  Salt Lake City, UT 84101




                                        INVOICE




  Re: Receiver for Traffic Monsoon/Legal Services

  Internal- reserve;flip

                                                                      $        10,810.00
                                          Less Courtesy Discount:     $        (2,013.00)
                                                      Total Fees:     $         8,797.00



  Expenses:
        UPS Charges                                     103.63
        Information and Research                         41.40
                                             Total Expenses:         $            145.03

                                            Current Invoice:         $          8,942.03




  PH:SG
  Tax ID:
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  278 Filed
                                       Filed12/10/20
                                             11/10/20 PageID.46756
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  Invoice No.:      5515788                                                                       Page 1
  Matter No.:       194096.010100


  Description of Professional Services Rendered:



  TASK CODE:              TMLS001   ADMINISTRATION



 DATE            TIMEKEEPER            DESCRIPTION                                  HOURS       AMOUNT

 09/22/20        Sarah Goldberg        Review and comment on status report             1.20      414.00

                                                                  Total Hours:         1.20

                                                                             Total Amount:     $ 414.00
                                                                                Total Fees:      414.00




  TASK CODE:              TMLS002   ASSET RECOVERY



 DATE            TIMEKEEPER            DESCRIPTION                                  HOURS       AMOUNT

 09/04/20        John Wiest            Review and revise motion for letter of          3.80    1,254.00
                                       request and related exhibits (1); analyze
                                       Payza and Allied Wallet user agreements
                                       with TM and possible clawback actions
                                       (2.8)
 09/10/20        Carson Heninger       Reviewed filed motion to issue letter of        0.20       66.00
                                       request
 09/10/20        John Wiest            Revise motion for letter request (1.1);         2.60      858.00
                                       review analysis of Payza and Allied Wallet
                                       fees and phone conference with J. Shaw re
                                       same (1.5)
 09/17/20        Carson Heninger       Research re payment processors demands          2.50      825.00
 09/17/20        John Wiest            Review prior correspondence with Allied         0.50      165.00
                                       Wallet and correspondence with C.
                                       Heninger re demand letter (.5)
 09/22/20        Carson Heninger       Reserach re payment processors.                 0.30       99.00
 09/25/20        Carson Heninger       Research re payment processors                  0.90      297.00
 09/28/20        John Wiest            Review signed letter of request and             0.90      297.00
                                       correspondence with London colleagues re
                                       (.7); correspondence with C. Heninger re
                                       demand letters to payment processors (.2)
 09/30/20        Carson Heninger       Research re payment processors                  0.90      297.00

                                                                  Total Hours:        12.60

                                                                             Total Amount:    $ 4,158.00
                                                                                Total Fees:     4,158.00
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  278 Filed
                                       Filed12/10/20
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  Invoice No.:      5515788                                                                           Page 2
  Matter No.:       194096.010100

  Description of Professional Services Rendered

  TASK CODE:              TMLS003     CLAIMS ADMINISTRATION



 DATE            TIMEKEEPER               DESCRIPTION                                   HOURS       AMOUNT

 09/01/20        Sarah Goldberg           Correspondences with B. Gallerie                 0.40      138.00
                                          regarding evidence submitted in support of
                                          claims
 09/17/20        Sarah Goldberg           Review exhibits for omnibus objections           1.70      586.50
                                          prepared by Epiq (.5); revise claim
                                          objection motion (.5); prepare summary of
                                          outstanding issues for Receiver (.7)
 09/23/20        Sarah Goldberg           Call with Receiver re claims process (.6);       1.10      379.50
                                          review claims issues (.5)
 09/24/20        Sarah Goldberg           Review issues regarding claims procedure         1.40      483.00
                                          (1); call with Epiq regarding claims issues
 09/29/20        Sarah Goldberg           Call with Epiq regarrding claims issues and      0.30      103.50
                                          preparation for same
 09/30/20        Sarah Goldberg           Revise claim motion with new information         1.00      345.00
                                          from Epiq

                                                                      Total Hours:         5.90

                                                                                 Total Amount:    $ 2,035.50
                                                                                    Total Fees:     2,035.50


  TASK CODE:              TMLS004     FEE ISSUES



 DATE            TIMEKEEPER               DESCRIPTION                                   HOURS       AMOUNT

 09/03/20        Carson Heninger          Completed Fee App and exhibits. Emailed          0.90        0.00
                                          to P. Hunt for review.
 09/23/20        Carson Heninger          Reviewed changes to 9th Fee App., made           2.30        0.00
                                          revisions, emailed professionals for
                                          approval. Reviewed objection deadline and
                                          other requests from Receiver regarding fee
                                          notices.
 09/24/20        Carson Heninger          Reviewed and filed fee app and proposed          0.90        0.00
                                          order. Trouble shot issues with court
                                          system accepting pdf.
 09/24/20        Carson Heninger          Drafted proposed order.                          0.60        0.00
 09/30/20        Carson Heninger          Reviewed invoices and began preparing fee        1.40        0.00
                                          notices. Emailed parties for updated
                                          invoices.

                                                                      Total Hours:         6.10

                                                                                 Total Amount:        $ 0.00
                                                                                    Total Fees:         0.00
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  278 Filed
                                       Filed12/10/20
                                             11/10/20 PageID.46758
                                                       PageID.46624 Page
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  Invoice No.:      5515788                                                                               Page 3
  Matter No.:       194096.010100

  Description of Professional Services Rendered

  TASK CODE:                TMLS006    INTERNATIONAL



 DATE            TIMEKEEPER               DESCRIPTION                                   HOURS           AMOUNT

 09/11/20        Struan F. Clark          Reviewing material and laising with Harod        0.70          189.00
                                          Associates, IB, MK and John/Peggy re the
                                          same
 09/11/20        Mohammed J. Khamisa      Reviewing draft report from Harod                0.70          647.50
                                          Associatesre tracing. Brief discussion with
                                          team.
 09/21/20        Ian Bean                 Discussion with Mohammed and email to            0.20          131.00
                                          John for update.
 09/21/20        Struan F. Clark          Update call with Martin Dubbey                   0.30           81.00
 09/21/20        Mohammed J. Khamisa      Telecon with Martin Dubbey of Harod              0.30          277.50
                                          Associates to get an update of the tracing
                                          efforts ; Several leads and a property
                                          identified with next step
 09/30/20        Struan F. Clark          Analysis of Harod report and emails to GT        0.50          135.00
                                          US
 09/30/20        Struan F. Clark          Reviewing HA docs                                0.30           81.00
 09/30/20        Mohammed J. Khamisa      Reading the report from Harod GIS into           0.70          647.50
                                          tracing , the proposed Phase 2 work and
                                          estimate and attachments.

                                                                      Total Hours:         3.70

                                                                                 Total Amount:        $ 2,189.50
                                                                                    Total Fees:         2,189.50




  TIMEKEEPER ACTIVITY GRAND TOTAL SUMMARY

  Timekeeper Name                             Hours Billed                      Rate          Total $ Amount
  Mohammed J. Khamisa                                  1.70                   925.00                1,572.50
  Struan F. Clark                                      1.80                   270.00                  486.00
  Sarah Goldberg                                       7.10                   345.00                2,449.50
  Carson Heninger                                      4.80                   330.00                1,584.00
  Carson Heninger                                      6.10                   330.00                    0.00
  John Wiest                                           7.80                   330.00                2,574.00
  Ian Bean                                             0.20                   655.00                  131.00

                            Totals:                  29.50                    298.20      $         8,797.00
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  278 Filed
                                       Filed12/10/20
                                             11/10/20 PageID.46759
                                                       PageID.46625 Page
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                                                                          20 of 26
                                                                                117
  Invoice No.:    5515788                                                                       Page 4
  Re:             Receiver for Traffic Monsoon/Legal Services
  Matter No.:     194096.010100


  Description of Expenses Billed:
  DATE           DESCRIPTION                                                                  AMOUNT

  07/08/20       Search Criteria: (None); Document Type: Pacer Research Charges for       $       0.50
                 July 2020
  07/13/20       Search Criteria: (None); Document Type: Pacer Research Charges for       $       2.00
                 July 2020
  07/14/20       Search Criteria: (None); Document Type: Pacer Research Charges for       $      14.00
                 July 2020
  07/16/20       Search Criteria: (None); Document Type: Pacer Research Charges for       $       3.50
                 July 2020
  07/17/20       Search Criteria: (None); Document Type: Pacer Research Charges for       $       8.00
                 July 2020
  07/22/20       Search Criteria: (None); Document Type: Pacer Research Charges for       $       4.60
                 July 2020
  07/30/20       Search Criteria: (None); Document Type: Pacer Research Charges for       $       8.80
                 July 2020
  09/29/20       VENDOR: United Parcel Service, Inc.(UPS) - ACH INVOICE#:                 $     103.63
                 00100320240 DATE: 10/3/2020 Trk'ing No. 1Z451W695495529370 /
                 Worldwide Express from Greenberg Traurig Llp Gtslclong to Greenberg
                 Traurig Llp Mohammed Khamisa Q.C on 9/29/2020 - 194096.010100

                                                                        Total Expenses:   $     145.03
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  278 Filed
                                       Filed12/10/20
                                             11/10/20 PageID.46760
                                                       PageID.46626 Page
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                    EXHIBIT C
Case
 Case2:16-cv-00832-JNP
      2:16-cv-00832-JNP Document
                         Document280
                                  278 Filed
                                       Filed12/10/20
                                             11/10/20 PageID.46761
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 Case
  Case2:16-cv-00832-JNP
       2:16-cv-00832-JNP Document
                          Document280
                                   278 Filed
                                        Filed12/10/20
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To: Peggy Hunt                                                                                   Page 2 of 5
c/o: Greenberg Traurig, LLP                                                                Invoice # 104007
RE: Traffic Monsoon Receivership                                               Client-Matter: 00997-014823

Services Rendered From September 1, 2020 Through September 30, 2020

PROFESSIONAL SERVICES
                                                                       Rate      Hours            Amount
Managing Director
  Ray Strong                                                          330.00      0.60             198.00

Senior Managing Consultant
   Jeffrey Shaw                                                       285.00      6.50           1,852.50
   Jeffrey Shaw                                                         0.00      5.60               N/C

Total Professional Services                                                      12.70           2,050.50

EXPENSES

Subcontracted Services                                                                              50.00
Total Expenses                                                                                      50.00
 Case
  Case2:16-cv-00832-JNP
       2:16-cv-00832-JNP Document
                          Document280
                                   278 Filed
                                        Filed12/10/20
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To: Peggy Hunt                                                                    Page 3 of 5
c/o: Greenberg Traurig, LLP                                                 Invoice # 104007
RE: Traffic Monsoon Receivership                                Client-Matter: 00997-014823

SUMMARY BY TASK CODE

 Task Code    Description                                          Hours           Amount
 110.0000     General Accounting Issues                             2.20            627.00
 120.0000     Monthly Operating Report Preparation                  0.30             85.50
 310.0000     Claims Analysis - Net Winner / Net Loser              2.50            739.50
 500.0000     Avoidance Action Analysis                             2.10            598.50
 950.0000     Fee Application Preparation & Hearing                 5.60              0.00

Total Professional Services                                         12.70         2,050.50
 Case
  Case2:16-cv-00832-JNP
       2:16-cv-00832-JNP Document
                          Document280
                                   278 Filed
                                        Filed12/10/20
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To: Peggy Hunt                                                                                              Page 4 of 5
c/o: Greenberg Traurig, LLP                                                                           Invoice # 104007
RE: Traffic Monsoon Receivership                                                          Client-Matter: 00997-014823

Services Rendered From September 1, 2020 Through September 30, 2020

DETAIL OF PROFESSIONAL SERVICES

Date         Name                         Description                             Hours        Rate          Amount

Task Code: 110.0000 - General Accounting Issues
09/23/20     Jeffrey Shaw               Reviewed status of outstanding             0.40      285.00           114.00
                                        payables and emails with Receiver
                                        regarding the same.
09/24/20     Jeffrey Shaw                 Reviewed and prepared outstanding        0.50      285.00           142.50
                                          payables.
09/24/20     Jeffrey Shaw                 Coordinated payment of outstanding       0.40      285.00           114.00
                                          payables.
09/29/20     Jeffrey Shaw                 Reviewed and prepared support for        0.20      285.00            57.00
                                          payables.
09/30/20     Jeffrey Shaw                 Reviewed, prepared and coordinated       0.70      285.00           199.50
                                          payment of outstanding payables.
                                          Total for Task Code 110.0000             2.20                       627.00

Task Code: 120.0000 - Monthly Operating Report Preparation
09/21/20     Jeffrey Shaw               Reviewed and submitted Q2 quarterly        0.30      285.00            85.50
                                        report to Receiver.
                                          Total for Task Code 120.0000             0.30                        85.50

Task Code: 310.0000 - Claims Analysis - Net Winner / Net Loser
09/04/20     Jeffrey Shaw                 Reviewed TM investor files and           1.90      285.00           541.50
                                          reported findings pursuant to counsel
                                          inquiry.
09/09/20     Ray Strong                   Analyzed TM database for email           0.60      330.00           198.00
                                          addresses and name inquiries from
                                          counsel.
                                          Total for Task Code 310.0000             2.50                       739.50

Task Code: 500.0000 - Avoidance Action Analysis
09/10/20     Jeffrey Shaw               Reviewed Payza transaction activity        1.60      285.00           456.00
                                        and fee data to verify amounts and
                                        reported findings to counsel.
09/10/20     Jeffrey Shaw                 Call with counsel regarding Payza and    0.50      285.00           142.50
                                          Allied Wallet activity and fees.
                                          Total for Task Code 500.0000             2.10                       598.50
 Case
  Case2:16-cv-00832-JNP
       2:16-cv-00832-JNP Document
                          Document280
                                   278 Filed
                                        Filed12/10/20
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To: Peggy Hunt                                                                                                  Page 5 of 5
c/o: Greenberg Traurig, LLP                                                                               Invoice # 104007
RE: Traffic Monsoon Receivership                                                              Client-Matter: 00997-014823

Date         Name                          Description                                Hours        Rate          Amount

Task Code: 950.0000 - Fee Application Preparation & Hearing
09/11/20     Jeffrey Shaw                Follow-up regarding status of fee             0.20        0.00              N/C
                                         application and monthly billings.
09/23/20     Jeffrey Shaw                  Emails with Receiver regarding fee          0.40        0.00              N/C
                                           application and other outstanding
                                           items.
09/23/20     Jeffrey Shaw                  Reviewed and updated schedules for          2.80        0.00              N/C
                                           Q2 fee application.
09/24/20     Jeffrey Shaw                  Reviewed time entries and                   0.40        0.00              N/C
                                           descriptions for Aug bill.
09/24/20     Jeffrey Shaw                  Reviewed fee application order and          0.40        0.00              N/C
                                           emails regarding the same.
09/24/20     Jeffrey Shaw                  Reviewed time entries and                   0.40        0.00              N/C
                                           descriptions for Jul bill.
09/28/20     Jeffrey Shaw                  Reviewed, finalized and submitted Jul       0.50        0.00              N/C
                                           bill.
09/28/20     Jeffrey Shaw                  Reviewed, finalized and submitted Aug       0.50        0.00              N/C
                                           bill.
                                           Total for Task Code 950.0000                5.60                         0.00

Professional Services                                                                 12.70                     2,050.50

DETAIL OF EXPENSES

Date             Description                                                                                     Amount
09/30/20         Strong Connexions, Inc. - Subcontracted Services- Backup server Invoice #: 7060 Vchr              50.00
                 Comment: Services on Matter #14823 in September 2020. Timekeeper : 03021 -
                 Strong, Jason

Expenses                                                                                                           50.00
